20-12097-scc         Doc 13      Filed 09/10/20 Entered 09/10/20 13:49:23                     Main Document
                                              Pg 1 of 75



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Proposed Attorneys for Debtors
and Debtors in Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re
                                                                      Chapter 11
CENTURY 21 DEPARTMENT STORES LLC,
et al.,                                                               Case No. 20-12097 (SCC)

                 Debtors. 1                                           (Joint Administration Requested)


               DECLARATION OF NORMAN R. VEIT JR. IN SUPPORT OF
             DEBTORS’ CHAPTER 11 PETITIONS AND FIRST DAY MOTIONS

        I, Norman R. Veit Jr., make this declaration under 28 U.S.C. § 1746:

        1.       I am the Chief Financial Officer and Chief Information Officer of each of the above-

captioned debtors and debtors in possession (each a “Debtor” and together, the “Debtors”). In

that role, I am familiar with the Debtors’ day-to-day operations, business and financial affairs,


        1
                 The Debtors in these chapter 11 cases (the “Chapter 11 Cases”), along with the last four digits of
each Debtor’s federal tax identification number, as applicable, are Century 21 Department Stores LLC (4073), L.I.
2000, Inc. (9619), C21 Department Stores Holdings LLC (8952), Giftco 21 LLC (0347), Century 21 Fulton LLC
(4536), C21 Philadelphia LLC (2106), Century 21 Department Stores of New Jersey, L.L.C. (1705), Century 21
Gardens Of Jersey, LLC (9882), C21 Sawgrass Blue, LLC (8286), C21 GA Blue LLC (5776), and Century Paramus
Realty LLC (5033). The Debtors’ principal place of business is: 22 Cortlandt Street, 5th Floor, New York, NY 10007.
20-12097-scc      Doc 13     Filed 09/10/20 Entered 09/10/20 13:49:23            Main Document
                                          Pg 2 of 75



books and records, and the circumstances leading to the commencement of the Debtors’ above-

captioned chapter 11 cases (the “Chapter 11 Cases”).

          2.   As Chief Financial Officer and Chief Information Officer for the Debtors, I am

responsible for all technology strategy, operations, development and support for the Debtors. Prior

to joining the Debtors, I held leadership roles at a number of retail companies, including serving

as Executive Vice President and Chief Information Officer at The Bon Ton Stores, Executive Vice

President, Distribution, Real Estate and Facilities and Chief Information Officer at Nine West

Holding s Inc. (formerly the Jones Group), and Vice President, Technology for Ames Department

Stores.

          3.   On the date hereof (the “Petition Date”), each of the Debtors filed a voluntary

petition for relief under chapter 11 of title 11 of the United States Code (11 U.S.C. § 101 et seq.,

the “Bankruptcy Code”) with the United States Bankruptcy Court for the Southern District of

New York (the “Court” or the “Bankruptcy Court”). The Debtors continue to operate their

business and manage their assets as debtors in possession pursuant to sections 1107(a) and 1108

of the Bankruptcy Code.

          4.   To enable the Debtors to operate effectively and minimize potential adverse effects

in the Chapter 11 Cases, the Debtors have requested certain relief in “first day” motions and

applications filed with the Court (collectively, the “First Day Motions”) concurrently herewith.

The First Day Motions, summarized below, seek, among other things, to (a) ensure the

continuation of the Debtors’ cash management system and other business operations without

interruption, (b) allow the Debtors to continue using cash collateral, (c) preserve the Debtors’

valuable relationships with customers, (d) permit the Debtors to effectuate an orderly liquidation

of their business, (e) resolve the Insurance Action (as defined below) in an expedited fashion, (f)



                                                 2
20-12097-scc       Doc 13     Filed 09/10/20 Entered 09/10/20 13:49:23               Main Document
                                           Pg 3 of 75



maintain employee morale and confidence, and (g) implement certain administrative procedures

that will promote a seamless transition into chapter 11. This relief is critical to the Debtors’ efforts

to maximize value for the benefit of their creditors.

        5.      I submit this Declaration in support of the First Day Motions. Except as otherwise

indicated herein, the facts set forth in this Declaration are based upon my personal knowledge, my

review of relevant documents, information provided to me by the Debtors’ employees or

professionals, or my opinion based upon my experience, knowledge, and information concerning

the Debtors’ operations and the retail industry. I am authorized to submit this Declaration on the

Debtors’ behalf. If called upon to testify, I would testify competently to the facts set forth in this

Declaration.

        6.      This Declaration is intended to provide an overview of the Debtors’ business and

their need to commence the Chapter 11 Cases. Section I sets forth certain relevant background.

Section II provides a brief overview of the Debtors’ business operations and workforce. Section

III describes the Debtors’ prepetition capital structure and debt obligations. Section IV describes

certain circumstances that precipitated commencement of the Chapter 11 Cases and the Debtors’

objectives in the Chapter 11 Cases. Sections V and VI provide a summary of the First Day

Motions and the factual bases supporting the relief requested therein. Finally, section VII provides

additional information required by the Local Rules for the United States Bankruptcy Court for the

Southern District of New York (the “Local Rules”).

                             I.      PRELIMINARY STATEMENT

        Background

        7.      The Debtors are pioneers in off-price retail offering unmatched access to designer

brands at amazing prices. They opened their iconic flagship location in downtown Manhattan in

1961. Despite sustaining serious physical damage following the September 11th attacks as the

                                                   3
20-12097-scc      Doc 13    Filed 09/10/20 Entered 09/10/20 13:49:23            Main Document
                                         Pg 4 of 75



company’s flagship location is across the street from Ground Zero and closing for six months,

the Debtors rebuilt their downtown Manhattan location, which is credited with helping revitalize

Manhattan’s Financial District in the aftermath of September 11th.

       8.      As of the Petition Date, the Debtors have thirteen stores across New York, New

Jersey, Pennsylvania and Florida and an online retail presence, operate seasonal pop-ups, and

employ other innovative retail concepts. Prior to the COVID-19 pandemic, the Debtors were

planning to open three new brick-and-mortar locations, including a premier location at the

American Dream Mall. The Debtors’ business operations, like those of many of their peers in the

retail space, have been negatively impacted by adverse market trends, including the shifting of

sales from traditional brick-and-mortar retailers to online retailers, and changing consumer

preferences. As a result of these changes, the Debtors retained prepetition the services of Moelis

& Company (“Moelis”) in connection with a potential strategic transaction for the Debtors.

However, the recent economic impact of the pandemic, including the required closure in mid-

March of all of the Debtors’ brick-and-mortar locations to comply with government directives to

combat the pandemic, proved to be too much of a strain on the Debtors’ business and any

previously-contemplated transactions.

       Insurance Providers’ Failure to Honor Obligations

       9.      While the effects of COVID-19 on the American economy, the retail industry and

the Debtors’ business have been devastating, the Debtors were well positioned to weather this

storm as a result of their careful insurance planning. Debtor Century 21 Department Stores LLC

and several of its non-debtor affiliates are named insureds under various insurance policies

(collectively, the “Insurance Policies”) that collectively provide for up to $350 million of

insurance coverage, including for property damage, business interruption and other situations that



                                                4
20-12097-scc      Doc 13       Filed 09/10/20 Entered 09/10/20 13:49:23                    Main Document
                                            Pg 5 of 75



would prevent the public from entering the Debtors’ stores. 2 The Debtors and their non-debtor

affiliates paid premiums to their insurance providers under the Insurance Policies (collectively, the

“Insurance Providers”) in excess of $1.2 million annually. And although the Debtors’ losses are

clearly covered by the Insurance Policies and notwithstanding the Debtors’ repeated requests to

the Insurance Providers to honor their obligations – even to pay in the interim only a relatively

small portion of the Debtors’ aggregate claim so to allow the Debtors to sustain their business

operations – the Insurance Providers delayed in responding to their insureds’ claims, repeatedly

requested irrelevant or duplicative materials, and refused to make any meaningful payments. By

July 2020, it became clear that the Insurance Providers would not honor the majority of their

obligations under the Insurance Policies and as a result, on July 8, 2020, the Debtors and certain

of their affiliates filed in the Supreme Court of the State of New York (the “State Court”) a suit,

captioned     Century 21 Department Stores, LLC v. Starr Surplus Lines Insurance Co.,

652975/2020) (the “Insurance Action”), against several of the Insurance Providers (a) alleging

breach of the relevant Insurance Policies as a result of the Insurance Providers’ failure to

compensate the Debtors for their losses under the policies and (b) seeking damages of over $175

million for the period March 2020 through May 31, 2020 and reserving their right to seek

additional amounts for later time periods, as their losses mount. As of the Petition Date, no answer

has been filed by the Insurance Providers and no orders (substantive or otherwise have been

entered by the State Court).

        10.    Contemporaneously with the filing of the Chapter 11 Cases, the Debtors will be

filing a Notice of Removal to remove the Insurance Action from the State Court to the United



        2
               The Debtors renewed the Insurance Policies for a full year and have opted for a quarterly payment
plan.


                                                      5
20-12097-scc      Doc 13     Filed 09/10/20 Entered 09/10/20 13:49:23             Main Document
                                          Pg 6 of 75



States District Court for the Southern District of New York (and then to the Bankruptcy Court)

(the “Removed Action”). The Debtors are also contemporaneously filing with this Court a letter

requesting that the Court hear the Removed Action on an expedited basis. The Insurance Policies

and proceeds thereof constitute property of the Debtors’ estates and are the Debtors’ largest assets,

representing an important source of recovery for the Debtors’ creditors.

       11.     The Insurance Providers’ refusal to honor their contractual obligations under the

Insurance Policies and requests for additional irrelevant information are simply delay tactics to

force the Debtors to pursue costly and protracted litigation and ultimately settle their claims for

less than the face amount of the Insurance Policies. The Insurance Providers’ delay tactics would

be even more pronounced if the Removed Action were to remain in the State Court as a result of

the impact of the pandemic on the State Court. The Debtors believe that this Court can provide an

expedited resolution of the Insurance Action that will yield significant proceeds and certainty for

the Debtors and their estates.

       12.     An overview of the Insurance Action, including the events precipitating its

commencement, is more fully set forth in the Debtors’ Memorandum in Support of Chapter 11

Filings filed contemporaneously herewith.

       Liquidity Constraints

       13.     Without proceeds of the Insurance Policies available to them and with mounting

losses the result of sustained store closures and lower demand, the Debtors estimated they needed

approximately $75 million of additional financing to continue to effectively operate their business.

However, they were unable to borrow under their existing Bank Facility (as defined below) as a

result of various defaults thereunder and lack of inventory to support additional borrowings under




                                                 6
20-12097-scc      Doc 13     Filed 09/10/20 Entered 09/10/20 13:49:23            Main Document
                                          Pg 7 of 75



the Bank Facility. The lenders under the Bank Facility ultimately exercised their right to “cash

dominion” over the Debtors’ essential collections and operating account.

       Search for Strategy Alternatives

       14.     It was against this backdrop that, prior to the Petition Date, the Debtors and their

professionals worked diligently to solicit and develop strategic alternatives to maximize the

Debtors’ value for the benefit of all of their stakeholders. In June 2020, with the support of their

secured lenders, the Debtors retained Berkley Research Group, LLC (“BRG”) to provide financial

advice to the Debtors and to facilitate discussions with certain of the Debtors’ constituents. At

that time, Moelis also began to contact prospective financial and/or strategic partners to gauge

interest in a strategic transaction with the Debtors. The Debtors also asked their equity owners to

consider infusing additional capital, but their equity owners ultimately declined to do so.

       15.     While the Debtors searched for a strategic partner, they also worked diligently to

maintain their operations in the face of declining liquidity and increasing financing challenges.

They took significant measures to reduce their expenses including furloughing approximately 50%

of their workforce, some of whom were ultimately laid off. Although each of the Debtors’ stores

has now re-opened, sales continue to be slow and the Debtors still have insufficient liquidity to

pay vendors and acquire additional inventory.

       16.     The Debtors recognized that the financial difficulties they faced may render a

strategic transaction challenging. Accordingly, I worked with the Debtors’ professionals to

prepare for the very real possibility that the best interests of the Debtors’ stakeholders would be

served by a bankruptcy case until proceeds of the Insurance Policies are realized.

       17.     The lenders and the company worked together leading up to the decision to

liquidate, with the lenders providing funding, support, and forbearance while the company pursued



                                                 7
20-12097-scc      Doc 13     Filed 09/10/20 Entered 09/10/20 13:49:23            Main Document
                                          Pg 8 of 75



third party investors and other sources of capital to support a going concern. Ultimately, the

Debtors’ efforts did not yield any viable strategic transaction counterparty and the Debtors have

commenced these Chapter 11 Cases to expeditiously resolve the Insurance Action, effectuate an

orderly liquidation of their assets and maximize the value of their estates for the benefit of their

stakeholders.   The Debtors determined that filing for Chapter 11 protection, utilizing cash

collateral (with the consent and support of their secured lenders), and pursuing the Insurance

Action in an expedited fashion while also commencing an orderly liquidation of their assets is their

best available option. The Debtors believe that the chapter 11 process described in this Declaration

and in contemporaneous filings will maximize recovery to the Debtors’ creditors.

                              II.    THE DEBTORS’ BUSINESS

A.     Corporate Structure

       18.      The Debtors are a family-owned and operated business. Raymond Gindi, I.G.

Gindi, Eddie Gindi and Isaac Gindi (collectively, the “Gindi Family”) and certain trusts

maintained for the benefit of the members of the Gindi Family and certain of their relatives (the

“Gindi Trusts”) own directly or indirectly each of Debtors L.I. 2000, Inc. (“LI 2000”) and C21

Department Stores Holdings LLC (“C21 Holdings”). Each of the other Debtors are direct or

indirect subsidiaries of LI 2000 and C21 Holdings. The Gindi Family also owns 100% of the

equity interests in non-Debtor Century 21, Inc., which after a reorganization of the Debtors and its

affiliates in 2017 contemporaneously with the Debtors’ entry into the Prepetition Credit

Agreement (as defined below), resulted in the retail operations and intellectual property being

housed exclusively in the Debtors and real estate ownership and other assets being housed

exclusively in Century 21, Inc. and its non-Debtor affiliates. An organizational chart illustrating

the corporate structure of the Debtors and certain non-Debtor affiliates is shown below.



                                                 8
20-12097-scc      Doc 13    Filed 09/10/20 Entered 09/10/20 13:49:23            Main Document
                                         Pg 9 of 75




       19.     The governing board of each of the Debtors (collectively, the “Boards”) is

currently comprised of Lawrence Meyer, an independent director appointed in August 2020, and

Gindi Family members Isaac A. ‘IG’ Gindi, Raymond Gindi, Isaac S. Gindi, and Edward Gindi.

Each of the Debtors’ Boards has delegated to Mr. Meyer, as independent director, sole authority

to review and approve, reject or negotiate, as the case may be, any transaction in which the Gindi

Family members or senior management are conflicted.

B.     The Debtors’ Business Operations

       20.     The Debtors operate thirteen retail stores across New York, New Jersey,

Pennsylvania and Florida and maintain an e-commerce retail sales platform. In fiscal year 2019,

the Debtors’ generated approximately $747 million of revenue.

       21.     The Debtors’ stores are stand-alone or located in shopping centers or traditional

shopping malls. The Debtors do not own any real estate but lease property for their retail space,

distribution centers, and two corporate locations. Approximately twenty-three of the Debtors’


                                                9
20-12097-scc        Doc 13      Filed 09/10/20 Entered 09/10/20 13:49:23                   Main Document
                                            Pg 10 of 75



leases are with third-party landlords, and approximately seventeen of the leases are with certain

non-Debtor related parties, including subsidiaries of Century 21, Inc.             The Debtors’ aggregate

rental expenses total approximately $65 million per year.

        22.      The Debtors historically maintained a supply chain comprised of more than 1,400

vendors designed to ensure the uninterrupted flow of new merchandise to their brick-and-mortar

locations and to their e-commerce customers.               The Debtors’ greatest expense has been its

merchandise, on which the Debtors historically have spent approximately $400 million annually.

The Debtors used financing factors to increase their cash flow and allow them to purchase

inventory on credit. The Debtors’ profitability has been highly dependent on maintaining strong

relationships and favorable trade terms with key vendors, including many highly-regarded brands

and their financing factors. The Debtors do not manufacture any merchandise, and have relied

upon their vendors, factors shippers, and warehousemen to ensure a continuous supply of goods

to their customers.

C.      Employees

        23.      As of the Petition Date, the Debtors 3 employ approximately 1,390 employees, of

which approximately 1,205 are full-time and approximately 185 are part-time (collectively, the

“Employees”).       The great majority of Employees work in or support the Debtors’ stores:

approximately 1,215 Employees work in retail, distribution, or loss prevention roles in the

Debtors’ retail stores and distribution centers. The approximately 175 remaining Employees work

in corporate roles such as accounting, information technology, and management.




        3
                 Employees are employed by Debtors L.I. 2000, Inc., C21 Stores, Century 21 Department Stores of
New Jersey, L.L.C., and C21 Philadelphia LLC.


                                                      10
20-12097-scc          Doc 13       Filed 09/10/20 Entered 09/10/20 13:49:23                      Main Document
                                               Pg 11 of 75



         24.      As of the Petition Date, approximately 985 Employees (approximately 71% of the

workforce) are represented by unions. The Debtors are party to a collective bargaining agreement

(the “CBA”) with UFCW Local 888, which represents all of the Debtors’ union-represented

Employees. The Debtors pay all union Employees and approximately 185 non-union Employees

on an hourly basis, while the remaining non-union Employees are paid on a salaried basis..

         25.      With the pandemic forcing the closure of their stores, almost all retail employees

were furloughed. Soon after, the Debtors furloughed half of their corporate and support staff. As

stores have reopened, many of the employees have returned to work, though Employees who have

salaries greater than $150,000 per year experienced 20% pay cuts beginning in July. 4

                                      III.     CAPITAL STRUCTURE

A.       Prepetition Secured Debt

                  Background on the Bank Facility

         26.      As described below in greater detail, the Debtors finance their business operations

primarily through a $125 million asset-based revolving credit facility on which the Debtors

traditionally owe anywhere from $50 to $100 million (including outstanding Letters of Credit),

depending on the time of year (the “Bank Facility”). The Bank Facility is secured by security

interests in and first-priority liens upon substantially all of the Debtors’ assets including proceeds

of the Insurance Policies.

         27.      The Bank Facility is evidenced by that certain the Credit Agreement, dated January

4, 2017 (as amended, restated, supplemented or otherwise modified prior to the Petition Date, the

“Prepetition Credit Agreement” and, collectively, with any other agreements and documents



         4
           As described in further detail below, such Employees’ salaries returned to normal levels in the first pay
period of September 2020.


                                                          11
20-12097-scc        Doc 13    Filed 09/10/20 Entered 09/10/20 13:49:23               Main Document
                                          Pg 12 of 75



executed or delivered in connection therewith, each as may be amended, restated, supplemented,

or otherwise modified in accordance with the terms thereof, the “Prepetition Credit

Documents”), by and among the Debtors, JPMorgan Chase Bank, N.A. as administrative agent,

(in such capacity, “Prepetition Agent”), and the lenders party thereto from time to time (the

“Prepetition Lenders”, and, together with the Prepetition Agent, collectively, the “Prepetition

Secured Parties”), pursuant to which the Prepetition Secured Parties made loans, advances and

provided other financial accommodations to the Debtors. Pursuant to the Prepetition Credit

Documents, each Debtor granted senior liens upon and security interests in substantially all of such

Debtors’ assets to the Prepetition Agent for the benefit of itself and the Prepetition Secured Parties

as security for the Prepetition Secured Obligations (as defined below).

        28.      As of the Petition Date, the Debtors were jointly and severally indebted and liable

to the Prepetition Secured Parties under the Prepetition Credit Documents in principal amounts not

less than (a) $56,260,439.40 (inclusive of letters of credit) plus (b) all interest accrued and accruing

thereon, together with all costs, fees, expenses (including attorneys’ fees and legal expenses) and

all other Obligations (as defined in the Prepetition Credit Agreement) accrued, accruing or

chargeable in respect thereof or in addition thereto, (collectively, the “Prepetition Secured

Obligations”).

        The Debtors’ Default under the Bank Facility

        29.      As a result of the COVID-related closures of their stores and resulting decreased

sales and cash flow described above, the Debtors defaulted under the Bank Facility. On June 18,

2020, the Prepetition Agent notified the Debtors of certain “Events of Default” under the

Prepetition Credit Agreement as a result of the Debtors’ failure to provide audited financial




                                                  12
20-12097-scc         Doc 13    Filed 09/10/20 Entered 09/10/20 13:49:23           Main Document
                                           Pg 13 of 75



statements without a “going concern” qualification by June 16, 2020, and to name the Prepetition

Agent as a lender loss payee on certain of the Insurance Policies.

       30.        On July 10, 2020, the Prepetition Agent notified the Debtors that the Prepetition

Agent remained in default under the Bank Facility and that the Prepetition Agent would exercise

its rights to establish cash dominion over the Debtors’ concentration account, where all of the

Debtors’ collections are aggregated. However, the Prepetition Agent and the Prepetition Lenders

have provided additional funding on a discretionary basis including to fund the appointment of an

independent director and a third-party Chief Restructuring Officer.

B.     General Unsecured Creditors

       31.        As of the Petition Date, the Debtors believe that general unsecured claims against

the Debtors are in excess of $100 million. Unsecured claims against the Debtors include

(a) accrued and unpaid trade and other unsecured debt incurred in the ordinary course of the

Debtors’ business, (b) unpaid amounts owed to the Debtors’ vendors, and (c) claims for unpaid

rent and other obligations under the Debtors’ leases.

        IV. THE NEED FOR CHAPTER 11 RELIEF AND CERTAIN EVENTS
        COMPELLING THE COMMENCEMENT OF THE CHAPTER 11 CASES

A.     Diminished Operating Performance

       32.        The Debtors, like many other retail companies, have faced a challenging

commercial environment over the past several years.           The Debtors’ challenges have been

exacerbated by a shift in customer preferences away from physical retail stores and toward online-

only stores. Given the Debtors’ substantial brick-and-mortar retail presence, their business has

been heavily dependent on in-store traffic, which has declined in recent years as a result of broad

market factors as well as decreased tourism to downtown Manhattan, the site of the Debtors’

flagship store.


                                                  13
20-12097-scc      Doc 13     Filed 09/10/20 Entered 09/10/20 13:49:23             Main Document
                                         Pg 14 of 75



B.     The Impact of COVID-19 and the Insurance Providers’ Failure to Honor Their
       Obligations to the Debtors

       33.     In early 2020, the Debtors were evaluating a strategic transaction to help restructure

the Debtors’ operations and finances. By mid-March, however, initial responses to the COVID-

19 pandemic required the Debtors to close all of their retail locations without any indication of

when they would be able to reopen. Although the Debtors’ e-commerce sales provided some

revenue for the period, online sales were nowhere near sufficient to offset the Debtors’ fixed real

estate lease expenses. With the Insurance Providers failing to honor their obligations under the

Insurance Policies, the Debtors are unable to sustain their business.

C.     Landlord and Vendor Issues

       34.     Due to the cessation of retail operations and insufficient liquidity, the Debtors did

not pay their rent in full for the months of April through August as they and their owners sought

concessions from various landlords. During this time, the Debtors also significantly curtailed

payments to the majority of their vendors. As a result, several vendors held deliveries of

merchandise and ultimately conditioned deliveries on cash in advance or provided the Debtors

with otherwise unworkable payment terms.

       35.      Although initially the Debtors’ landlords largely were understanding of the

Debtors’ inability to pay rent and, in some instances, were barred by local governmental regulation

and executive orders preventing them from commencing eviction proceedings, as time passed, the

Debtors’ landlords began taking a more aggressive posture. It eventually became clear that the

Debtors would require the protections afforded by the Bankruptcy Code to prevent landlords from

pursuing eviction proceedings to judgment and (where allowed) exercising self-help to lockout the

Debtors and/or seize the Debtors’ inventory to satisfy rents due.




                                                14
20-12097-scc       Doc 13    Filed 09/10/20 Entered 09/10/20 13:49:23            Main Document
                                         Pg 15 of 75



         36.    As of the Petition Date, several of the Debtors’ landlords have sent the Debtors

default notices and threatened eviction, which, without the commencement of these Chapter 11

Cases, undoubtedly would continue.

D.       Proposed Course of the Chapter 11 Cases

         37.    As set forth above, in the weeks leading to the Petition Date, I have worked

determinedly with vendors, landlords, and potential strategic partners in the hopes of sustaining

the business so that a strategic transaction could be consummated, whether in chapter 11 or outside.

Unfortunately, there was no deal to be had. The Debtors believe, in the exercise of their business

judgment, that expeditiously resolving the Insurance Action while also pursuing an orderly

liquidation will provide the best process under the circumstances to maximize value for their

stakeholders.   To that end, the Debtors solicited bids from several national liquidation firms,

ultimately determining that Hilco Merchant Resources, LLC (“Hilco”) provided the best terms.

As noted below, the Debtors are seeking to retain Hilco and approval of store closing procedures.

                                V.      FIRST DAY MOTIONS

         38.    To minimize the adverse effects of the commencement of these Chapter 11 Cases

in a way that will allow the Debtors’ to maximize the value of their estates, the Debtors have filed

a number of First Day Motions designed to facilitate their transition into chapter 11.

         39.    I anticipate that the Court will conduct a hearing soon after the Petition Date at

which the Court will hear and consider many of the First Day Motions. Many of the First Day

Motions seek authority to pay certain prepetition claims. I understand that Rule 6003 of the

Federal Rules of Bankruptcy Procedure provides, in relevant part, that the Court shall not consider

motions to pay prepetition claims during the first twenty-one days following the filing of a chapter

11 petition, “[e]xcept to the extent that relief is necessary to avoid immediate and irreparable

harm.”    In light of this requirement, the Debtors have narrowly tailored their requests for

                                                15
20-12097-scc             Doc 13   Filed 09/10/20 Entered 09/10/20 13:49:23                     Main Document
                                              Pg 16 of 75



immediate authority to pay prepetition claims to instances where the failure to pay such claims

would cause immediate and irreparable harm to themselves and their estates. Other relief will be

deferred for consideration at a later hearing.

         40.        I have reviewed each of the First Day Motions with the Debtors’ counsel and the

facts stated therein are true and correct to the best of my knowledge, information, and belief. I

believe that the relief sought in each of the First Day Motions is tailored to meet the goals described

above, is necessary and critical to the Debtors’ liquidation efforts, and is in the best interests of the

Debtors’ creditors and estates. A detailed discussion of the facts supporting, and the relief

requested, in each of the First Day Motions follows. I hereby adopt and affirm the factual

representations contained in each of the First Day Motions.

                   VI.    EVIDENTIARY SUPPORT FOR FIRST DAY MOTIONS 5

                           Administrative and Procedural First Day Motions

    A. Motion of Debtors for Entry of Order Directing Joint Administration of Related
       Chapter 11 Cases

             40.     The Debtors request entry of an order jointly administering these Chapter 11 Cases

for procedural purposes only and request that the Court instruct the Clerk of Court to make an

entry on each Debtor’s docket reflecting the joint administration of these Chapter 11 Cases. Each

of the Debtors is “affiliated” with the others as defined by section 101(2) of the Bankruptcy Code.

Joint administration of these cases will avoid the unnecessary time and expense of drafting, filing,

and serving duplicative motions, applications, orders, and other papers and related notices in each

case. Moreover, joint administration will relieve this Court of the burden of entering duplicative

orders and maintaining duplicative dockets and files and will ease the burden on the U.S. Trustee


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           Capitalized terms used but not defined in this section have the meanings ascribed to them in the First Day
Declaration and their respective First Day Motions.


                                                         16
20-12097-scc       Doc 13      Filed 09/10/20 Entered 09/10/20 13:49:23               Main Document
                                           Pg 17 of 75



in supervising these cases. The Debtors also request authority to file the monthly operating reports

on a consolidated basis in the lead Debtor’s case. I respectfully submit that joint administration

will save considerable time and expense for all parties-in-interest and this Court and the relief

requested should be granted.

    B. Motion of Debtors for Entry of Order Extending Time to File Schedules of Assets and
       Liabilities, Schedules of Executory Contracts and Unexpired Leases, and Statements
       of Financial Affairs

         41.     The Debtors request entry of an order granting a 26-day extension of the time to

file their Schedules and Statements for a total of 40 days after the Petition Date without prejudice

their right to request additional time. Preparing the Schedules and Statements will require the

Debtors’ employees and professionals to devote substantial time and effort to analyzing the

Debtors’ various constituencies on an entity-by-entity basis. Given the size and complexity of

their operations, the Debtors anticipate that they will be unable to complete their Schedules in the

fourteen days provided under Bankruptcy Rule 1007(c) and that it would be unnecessarily

burdensome to attempt to do so during the first fourteen days of these Chapter 11 Cases. I believe

that the extension requested is in the best interests of the Debtors’ estates, creditors, and all parties-

in-interest, and will enable the Debtors to continue to operate their business in chapter 11 without

disruption. Accordingly, I respectfully submit that the Court should grant the Debtors’ motion

seeking an extension of time in which to file their Schedules and Statements.

    C. Application of Debtors Seeking Entry of an Order (I) Authorizing and Approving the
       Appointment of Stretto as Claims and Noticing Agent and (II) Granting Related
       Relief

         42.     The Debtors seek entry of an order appointing Bankruptcy Management Solutions,

Inc. d/b/a Stretto (“Stretto”) as claims and noticing agent in these Chapter 11 Cases because it has

significant experience in both the legal and administrative aspects of large, complex chapter 11


                                                   17
20-12097-scc          Doc 13       Filed 09/10/20 Entered 09/10/20 13:49:23                      Main Document
                                               Pg 18 of 75



cases and its professionals have experience in noticing, claims administration, solicitation,

balloting, and facilitating other administrative aspects of chapter 11 cases and experience in

matters of this size and complexity. I believe that Stretto’s appointment is the most effective and

efficient manner of noticing creditors and parties-in-interest of the filing of and developments in

these cases. In addition, Stretto will transmit, receive, docket and maintain proofs of claim filed

in connection with these cases. Accordingly, I believe that the appointment of Stretto to act as an

agent of this Court is in the best interests of the Debtors’ estates, their creditors, and all parties-in-

interest and respectfully submit that the Court should grant the Debtors’ motion to appoint Stretto. 6

    D. Motion of Debtors for Entry of an Order (I) Authorizing Debtors to (A) File a
       Consolidated List of Creditors and (B) File a Consolidated List of the Debtors’ 30
       Largest Unsecured Claims, (II) Authorizing Debtors to Redact Certain Personal
       Identification Information for Individual Creditors and Interest Holders, and (III)
       Approving Form and Manner of Notifying Creditors of Commencement of these
       Chapter 11 Cases

             43.   The Debtors seek entry of an order authorizing them to file a consolidated list of

creditors in lieu of submitting separate mailing matrices for each Debtor, to file a consolidated

list of their top 30 creditors, and to mail initial notices. Requiring the Debtors to segregate and

convert their computerized records to a Debtor-specific creditor matrix format would be

burdensome, result in duplicate mailings, and could increase the risk of errors in translating the

Debtors’ computerized information into a .txt mailing matrix.                       Separately, filing a single

consolidated list of the Debtors’ combined 30 largest unsecured creditors in these Chapter 11

Cases would be more reflective of the unsecured creditor body than filing separate lists for each

of the Debtors. Finally, to alleviate the administrative and economic burdens that these Chapter




         6
          The Debtors intend to file a subsequent application to retain Stretto to perform certain administrative
services under section 327 of the Bankruptcy Code.


                                                         18
20-12097-scc      Doc 13      Filed 09/10/20 Entered 09/10/20 13:49:23             Main Document
                                          Pg 19 of 75



11 Cases may impose upon the Court and the Clerk’s office, the Debtors propose that Stretto

undertake all mailings directed by this Court or the U.S. Trustee or required by the Bankruptcy

Code or Bankruptcy Rules. Stretto will, among other things, serve the notice of commencement

of these Chapter 11 Cases, thus ensuring that all creditors and parties-in-interest receive timely

and proper notice of filing of the Debtors’ petitions as well as the date, time, and location for the

first meeting of creditors pursuant to section 341 of the Bankruptcy Code. In sum, I respectfully

submit that the Court should grant the relief requested in the motion in order to alleviate

unnecessary administrative burdens during the course of these Chapter 11 Cases.

                                    Operational First Day Pleadings

   A. Motion of Debtors Seeking Entry of Interim and Final Orders (I) Authorizing Use
      of Cash Collateral and Affording Adequate Protection; (II) Modifying the
      Automatic Stay; (III) Scheduling A Final Hearing; and (IV) Granting Related
      Relief (the “Cash Collateral Motion”)

        44.    The Debtors require immediate access to cash to ensure that they are able to conduct

their store closing processes, sell their other assets and preserve the value of their estates for the

benefit of all parties in interest. The Debtors have no unencumbered cash and the Prepetition

Secured Parties have security interests in substantially all of the Debtors’ assets, including the

Debtors’ cash, their inventory and the proceeds thereof. As such, there is no unencumbered cash

to support the Debtors’ ordinary course business operations, let alone the added costs of

administering these chapter 11 cases.

        45.    Against that backdrop, the Debtors negotiated at length with their Prepetition

Lenders to develop a Budget, adequate protection package, and case timeline that would induce

the Prepetition Lenders to consent to the use of cash collateral (as defined in section 363 of the

Bankruptcy Code, the “Cash Collateral”) in light of the circumstances.




                                                 19
20-12097-scc      Doc 13     Filed 09/10/20 Entered 09/10/20 13:49:23            Main Document
                                         Pg 20 of 75



        46.    The Debtors, with the assistance of their advisors, developed the Budget governing

their use of Cash Collateral during the period for which the Budget was prepared. The Budget

contains line items for each category of cash flow anticipated to be received or disbursed during

this period. I believe that the Budget includes all reasonable, necessary, and foreseeable expenses

to be incurred in connection with the operation of the Debtors’ business for the period set forth in

the Budget. Further, I believe that the Budget establishes that the Debtors will have adequate

liquidity during this period. Both the Budget and the terms of the proposed Interim Order are a

product of extensive negotiations conducted in good faith and at arm’s length among the Debtors

and the Prepetition Secured Parties. I believe that the terms of the Interim Order (and the Debtors’

use of Cash Collateral thereunder) are fair and reasonable, and reflect the Debtors’ exercise of

prudent business judgment.

        47.    It is my understanding that the Debtors propose to provide the Prepetition Secured

Parties with an adequate protection package including, among other things, adequate protection

liens, superpriority claims, payment of a consent fee, paydowns of the Bank Facility from excess

cash and payment of certain other fees and expenses. I believe that each form of adequate

protection is appropriate under the circumstances and will adequately protect the Prepetition

Secured Parties against any actual diminution in value of their interest in the Cash Collateral. I

also understand that courts in this jurisdiction and other jurisdictions have approved similar

adequate protection packages in other, recent chapter 11 cases.

        48.    Completing the orderly liquidation of the Debtors’ assets is the best opportunity to

maximize recoveries to the Debtors’ stakeholders. The terms of the Cash Collateral Orders,

including the marketing process Milestones and the consent fee are the “price of admission” for

consensual use of the Prepetition Lenders’ Cash Collateral, which will make it possible for the



                                                20
20-12097-scc      Doc 13     Filed 09/10/20 Entered 09/10/20 13:49:23             Main Document
                                         Pg 21 of 75



Debtors to seize that opportunity for the benefit of all creditors. Therefore, I believe the adequate

protection package required by the lenders and the other terms of the proposed order and Budget

are reasonable and in the best interests of the Debtors’ estates and their stakeholder and the relief

requested in the Interim Order is necessary and appropriate to avoid immediate and irreparable

harm to the Debtors’ estates, and should be approved by this Court.

   B. Motion of Debtors Requesting Authority to (I) Continue Using Existing Cash
      Management System, Bank Accounts, and Business Forms, (II) Implement Changes
      to the Cash Management System in the Ordinary Course of Business, (III) Continue
      Intercompany Transactions, and (IV) Provide Administrative Expense Priority for
      Postpetition Intercompany Claims, and (V) for Related Relief (the “Cash
      Management Motion”)

        49.     In the Cash Management Motion, the Debtors request interim and final authority to

(i) continue use their existing cash management system, (ii) continue maintenance of their existing

Bank Accounts and Business Forms, (iii) implement changes to their Cash Management System in

the ordinary course of business, including, without limitation, opening new or closing existing Bank

Accounts, in their business judgment and at their sole discretion.

        50.     The Debtors further request that the Court authorize and direct JPMorgan Chase

Bank N.A. (“Chase”), the bank where the Debtors’ Bank Accounts are located to (a) continue to

maintain, service, and administer the Debtors’ Bank Accounts, and (b) debit the Bank Accounts in

the ordinary course of business on account of (i) wire transfers or checks drawn on the Bank

Accounts, provided that any payments drawn, issued, or made prior to the Petition Date shall not

be honored absent direction of the Debtors and a separate order of the Court authorizing such

prepetition payment, or (ii) undisputed service charges and other fees owed to Chase for

maintenance of the Debtors’ Cash Management System, if any.

        51.     The Debtors use an integrated, centralized Cash Management System to collect,

concentrate, and disburse funds generated by their operations. The Cash Management System is

                                                 21
20-12097-scc      Doc 13     Filed 09/10/20 Entered 09/10/20 13:49:23             Main Document
                                         Pg 22 of 75



tailored to meet the Debtors’ operating needs as the operator of 13 retail stores and an e-commerce

platform. The Cash Management System enables the Debtors to efficiently collect and disburse

cash generated by their businesses, pay their financial obligations, centrally control and monitor

corporate funds and available cash, comply with the requirements of their financing agreements,

reduce administrative expenses, and efficiently obtain accurate account balances and other financial

data. The Debtors’ Finance Department oversees the Cash Management System, and the Debtors

maintain records of all transactions processed through their Cash Management System. Although

some of the Cash Management System is automated, Finance Department personnel monitor the

Bank Accounts and manage the collection and disbursement of funds.

        52.     I believe the relief requested in the Cash Management Motion is in the best

interests of the Debtors’ estates, their creditors, and all parties-in-interest and will enable the

Debtors to continue to operate their business in these Chapter 11 Cases with minimal disruption.

Most significantly, maintaining the Cash Management System in its current state is crucial to the

Debtors’ continued operations, given the significant number of cash transactions processed

through the Cash Management System each day. Any disruption to the Cash Management System

would significantly hinder the Debtors’ day-to-day operations and impede the successful

administration of their estates. In light of the foregoing, and for the reasons set forth in the Cash

Management Motion, I respectfully submit that the Cash Management Motion should be granted.

Absent the relief requested in the Cash Management Motion, the Debtors and their estate would

suffer immediate and irreparable harm.

   C. Motion of Debtors for Authorization to Pay Certain Prepetition Taxes and Fees

        53.     In the Tax Motion, the Debtors request entry of interim and final orders

authorizing, but not directing, the payment of certain Taxes and Fees, in the ordinary course of



                                                 22
20-12097-scc       Doc 13      Filed 09/10/20 Entered 09/10/20 13:49:23           Main Document
                                           Pg 23 of 75



business and without regard to whether such obligations accrued or arose before or after the

Petition Date.

         54.     In the ordinary course of business, the Debtors collect, withhold, or incur an

assortment of state and local Sales and Use Taxes and remit same to various state and local taxing

Authorities when due. The prepetition Sales and Use Taxes are not property of the Debtors’ estates

but, rather, are held in trust for the Authorities. The Debtors seek to pay the prepetition Sales and

Use Taxes in order to, among other things, prevent the Authorities from taking actions that might

interfere with the Debtors’ administration of the Chapter 11 Cases, which may include bringing

personal liability actions against the Debtors’ directors, officers, and other key employees (whose

full-time attention to the Debtors’ Chapter 11 Cases is required to avoid business disruptions and

maximize recoveries to the Debtors’ creditors) or assessing penalties and/or significant interest on

past-due taxes. In addition, non-payment of the Sales and Use Taxes may give rise to priority

claims pursuant to section 507(a)(8) of the Bankruptcy Code. Accordingly, the Debtors submit

that the proposed relief is in the best interest of their estates.

         55.     Although the Debtors believe they are current with respect to their payment of

Sales and Use Taxes, the Debtors estimate that, as of the Petition Date, they have collected or

incurred approximately $1.285 million in prepetition Sales and Use Taxes that have not yet been

remitted to the appropriate Authorities. The Debtors estimate that approximately $1.073 million

in prepetition Sales and Use Taxes will become due and payable within twenty-one (21) days

following the Petition Date.

         56.     The Debtors must continue to pay the Sales and Use Taxes to continue their

business and avoid costly distractions during the Chapter 11 Cases. The failure to pay the Sales

and Use Taxes could adversely affect the Debtors’ business operations. In addition, certain



                                                    23
20-12097-scc        Doc 13   Filed 09/10/20 Entered 09/10/20 13:49:23             Main Document
                                         Pg 24 of 75



Authorities may take precipitous action against the Debtors’ officers and directors for unpaid Sales

and Use Taxes, which undoubtedly would distract those key individuals from their duties.

        57.     The Debtors incur franchise taxes or fees assessed by certain Authorities to operate

their businesses in the applicable jurisdiction. Franchise Taxes vary by jurisdiction but are

approximately $10,000 per month. Although the Debtors believe that they are current with respect

to their payment of Franchise Taxes, the Debtors estimate that, as of the Petition Date, they have

accrued approximately $10,000 in prepetition Franchise Taxes that have not yet become due and

payable. The Debtors estimate that $10,000 in Franchise Taxes will become due and payable within

twenty-one (21) days following the Petition Date.

        58.     State and local laws in the jurisdictions where the Debtors operate generally grant

the applicable Authorities the power to levy property taxes against the Debtors’ real and personal

property (“Real Property Taxes”). Real Property Taxes may create a lien on or security interest

in the property so taxed. The Debtors generally pay Real Property Taxes in one of two ways: (i)

direct payment to the relevant Authorities if the Debtors lease underlying property in a jurisdiction

that requires lessees to pay Real Property Taxes directly to the Authorities (collectively, “Direct

Real Property Taxes”); or (ii) reimbursement to landlords that pay the property taxes on certain

properties that the Debtors’ lease (“Indirect Real Property Taxes”). The Debtors seek authority

to pay all Real Property Taxes, including Indirect Real Property Taxes for leases the Debtors

expect to assume.

        59.     The Debtors have four leases for which they remit Direct Real Property Taxes to

the applicable Authorities, for which they paid $324,329.36 to the applicable Authorities on June

30, 2020. The Debtors do not believe that any Direct Real Property Taxes will become due and

payable within twenty-one (21) days following the Petition Date. For the reasons set forth herein



                                                 24
20-12097-scc      Doc 13      Filed 09/10/20 Entered 09/10/20 13:49:23             Main Document
                                          Pg 25 of 75



and in the Tax Motion, I respectfully submit that the relief requested in the Tax Motion is in the

best interest of the Debtors’ estates and creditors. Absent the relief requested in the Tax Motion,

the Debtors and their estates could suffer immediate and irreparable harm.

   D. Debtors’ Motion Pursuant to 11 U.S.C. §§ 105(a), 363, and 507(a) for Interim and
      Final Authority to (I) Pay Certain Prepetition Wages and Reimbursable Employee
      Expenses, (II) Pay and Honor Employee Medical and Other Benefits, and (III)
      Continue Employee Benefits Programs, and for Related Relief (the “Wages
      Motion”)

        60.     In the Wages Motion, the Debtors seek entry of interim and final orders

authorizing, but not directing, them to pay and honor certain prepetition claims and obligations,

continue programs, and maintain funding, in the exercise of their discretion, relating to the

Debtors’ workforce (collectively, the “Workforce Obligations”), including: (a) Unpaid

Compensation, Deductions, and Payroll Taxes; (b) compensation on account of their Supplemental

Workforce; (c) Reimbursable Expenses and Corporate Cards; (d) Benefit Plans; and (e) Retirement

Plans (each as defined herein).

        61.     To enable the Debtors to carry out the relief requested, the Debtors also request

that the Court authorize and direct financial institutions to receive, process, honor and pay all

checks presented for payment and electronic payment requests relating to the foregoing to the

extent the Debtors have sufficient funds standing to their credit with such bank, whether such

checks were presented or electronic requests were submitted before or after the Petition Date, and

provide that all such financial institutions are authorized to rely on the Debtors’ designation of any

particular check or electronic payment request as appropriate pursuant to the Wages Motion

without any duty of further inquiry and without liability for following the Debtors’ instructions.

The Debtors’ Workforce




                                                 25
20-12097-scc        Doc 13      Filed 09/10/20 Entered 09/10/20 13:49:23                   Main Document
                                            Pg 26 of 75



            62.   As of the Petition Date, the Debtors 7 employ approximately 1,390 employees, of

which approximately 1,205 are full-time and approximately 185 are part-time (collectively, the

“Employees”).       The great majority of Employees work in or support the Debtors’ stores:

approximately 1,215 Employees work in retail, distribution, or loss prevention roles in the

Debtors’ retail stores and distribution centers. The approximately 175 remaining Employees work

in corporate roles such as accounting, information technology, and management.

            63.   As of the Petition Date, approximately 985 Employees (approximately 71% of the

workforce) are represented by unions. The Debtors are party to a collective bargaining agreement

(the “CBA”) with UFCW Local 888, which represents all of the Debtors’ union-represented

Employees. The Debtors pay all union Employees and approximately 185 non-union Employees

on an hourly basis, while the remaining non-union Employees are paid on a salaried basis.

            64.   In addition to their Employees, the Debtors rely on services of a supplemental

workforce (the “Supplemental Workforce”), composed of approximately fifty temporary

workers as of the Petition Date, that provides services related to the Debtors’ operations. The

temporary workers comprising the Supplemental Workforce staff the Debtors’ four distribution

centers, which supply the inventory for the Debtors’ stores and fulfill orders placed through the

Debtors’ online platform. The Debtors staff the distribution centers according to the volume of

sales. Accordingly, the Supplemental Workforce fluctuates significantly in number of workers

and hours depending on seasonality, which peaks before and during the holiday season, reaching

approximately 300 workers during this time.




        7
                 Employees are employed by Debtors L.I. 2000, Inc., C21 Stores, Century 21 Department Stores of
New Jersey, L.L.C., and C21 Philadelphia LLC.


                                                      26
20-12097-scc           Doc 13       Filed 09/10/20 Entered 09/10/20 13:49:23                     Main Document
                                                Pg 27 of 75



          Wages, Salaries, and Other Compensation

              65.    In the ordinary course of business, the Debtors pay all their Employees on either a

weekly or bi-weekly basis. Hourly workers are paid on a weekly basis, while salaried workers are

paid bi-weekly. 8 The Debtors’ payroll obligations include wages and salaries. On average, the

Debtors’ gross payroll is approximately $5 million to $6 million per month. The Debtors’ payroll

is made by direct deposit through electronic transfer of funds to the Employees’ accounts or

through physical paychecks. 9 Approximately 80% of Employees are enrolled in direct deposit.

              66.    The Debtors estimate that as of the Petition Date they owe approximately $1.4

million to Employees on account of prepetition payroll obligations, which amount includes

accrued but unpaid wages and salaries (the “Unpaid Compensation”). The prepetition obligation

is based on an 11-day accrual for the biweekly payroll covering the period since August 29, 2020,

and a 4-day accrual for the weekly payroll covering the period since September 5, 2020. I have

been informed the Debtors are not requesting herein authority to pay any prepetition obligations

in excess of the statutory cap imposed by section 507(a)(4) of the Bankruptcy Code.

              67.    I have been informed the Debtors request authority to pay all prepetition amounts

owed to Employees on account of Unpaid Compensation up to the section 507(a)(4) cap. 10 The



          8
                 In addition to bi-weekly payments, the Debtors historically in the ordinary course make regularly
scheduled monthly bonus payments to certain officers, which are paid every month and are not contingent on
performance or other criteria. The Debtors estimate that there are no outstanding obligations regarding such
monthly payments, but intend to continue making such monthly payments – reduced by 50% of the prepetition
amounts paid – to only the co-Chief Executive Officers in the ordinary course.

          9
                    The Debtors use five accounts at JPMorgan Chase Bank, N.A. to fund direct deposits and payroll
checks.

         10
                   The Debtors have historically operated four bonus plans: (i) a corporate and manager plan; (ii) a
merchandising and buying plan; (iii) a plan-centered on store operations; and (iv) an “ExCom Bonus Plan” for
senior executives (collectively, the “Bonus Plans”). The Debtors do not intend, and do not seek by the Wages
Motion, to make payments under or continue the Bonus Plans, but reserve the right to seek, by separate motion,
authority for a key employee incentive or retention plan.


                                                         27
20-12097-scc          Doc 13       Filed 09/10/20 Entered 09/10/20 13:49:23                       Main Document
                                               Pg 28 of 75



Debtors intend to continue paying postpetition obligations on account of compensation consistent

with past practice. 11

          68.      Federal and state laws require the Debtors to withhold amounts related to federal,

state and local income taxes, Social Security, and Medicare taxes for remittance to the appropriate

federal, state, or local taxing authorities (collectively, the “Withheld Amounts”). The Debtors

must then match from their own funds for Social Security and Medicare withholdings, based on

gross earnings and additional amounts for federal and state unemployment insurance (collectively

the “Employer Payroll Taxes,” and together with the Withheld Amounts, the “Payroll Taxes”).

In the aggregate, the Payroll Taxes, including both the Employee and employer portions, total

approximately $85,000 during each bi-weekly pay period. 12 In the aggregate, the Payroll Taxes,

including both the Employee and employer portions, total approximately $50,000 during each

weekly pay period. As of the Petition Date, the Debtors estimate approximately $98,000 remains

outstanding on account of prepetition Payroll Taxes for Unpaid Compensation (not including

amounts owed on account of PTO).

          69.      For each applicable pay period, the Debtors may routinely deduct certain amounts

from each Employee’s gross payroll, including garnishments, child support, spousal support and

service charges and similar deductions, union initiation fees and membership dues for union



         11
                    The Debtors instituted a 20% reduction in pay to salaried Employees making $75,000-$150,000
annually for the two pay periods in the month of July, which returned to normal salary levels in the first pay period
of August. In addition, the Debtors instituted a 20% reduction in pay for salaried Employees making $150,000 or
greater annually for the months of July and August, which returned to normal levels in the first pay period of
September 2020. Accordingly, August compensation may be greater than July, and September may be greater than
August, as compensation levels normalized following the reductions. The Debtors intend to pay retained Employees
at their prepetition compensation levels but reserve the right to institute further reductions or furloughs as necessary
at their discretion.
         12
                  Certain vendors, including ADP, provide services to ensure compliance with state and federal
requirements and, as such, are necessary vendors for the Debtors payroll. Their fees are invoiced separately and are
not included in the gross payroll figures.


                                                          28
20-12097-scc       Doc 13     Filed 09/10/20 Entered 09/10/20 13:49:23          Main Document
                                          Pg 29 of 75



Employees, and other pre- and after-tax deductions payable pursuant to certain of the employee

benefit plans discussed herein (such as an Employee’s share of health care benefits and insurance

premiums, contributions under flexible spending plans, 401(k) contributions, legally ordered

deductions, and miscellaneous deductions) (collectively, the “Deductions”). The Debtors deduct

from Employees’ paychecks over the course of each bi-weekly pay period a total of approximately

$112,000, which the Debtors remit to the appropriate third-party recipients. The frequency and

schedule of payments relating to the Deductions and the due dates on the various pay cycles may

encompass more than one period. The Debtors may not have forwarded certain of the Deductions

to the appropriate third-party recipients prior to the Petition Date.

        Supplemental Workforce Obligations

        70.     The Debtors retain temporary employees comprising the Supplemental Workforce

through temporary agencies such as Full Steam Staffing and On Target Staffing (the “Temporary

Agencies”).    Temporary Agencies track the hours of work provided by the Supplemental

Workforce and bill the Debtors on an aggregate-hours basis without identifying the hours worked

per temporary employees. The Debtors remit fees for the services performed to the Temporary

Agency on a weekly basis through accounts payable. As of the Petition Date, the Debtors owe

approximately $550,000 to the Temporary Agencies for prepetition services provided by the

Supplemental Workforce. The Debtors believe it is necessary to pay the obligations owed to the

Temporary Agencies, for the benefit of temporary employees, so that the temporary employees

and the Temporary Agencies will continue to assist with the Debtors’ staffing needs as needed.

        71.     I believe that if these amounts go unpaid, the Temporary Agencies or temporary

employees may stop providing their services to the Debtors – an especially critical element of the

Debtors’ workforce in light of the expectation that the Debtors’ liquidation sales will draw



                                                  29
20-12097-scc      Doc 13      Filed 09/10/20 Entered 09/10/20 13:49:23             Main Document
                                          Pg 30 of 75



consumers to the Debtors’ stores and website, and because of the critical role of distribution centers

in connection with the Debtors’ distribution operations. Because Temporary Agencies invoice the

Debtors on an aggregate basis, the Debtors intend to estimate the amounts attributable to individual

temporary workers and intend to rely on data provided by Temporary Agencies to the Debtors.

       Reimbursements

        72.     In the ordinary course of business, the Debtors provide a travel stipend and

reimburse certain Employees for travel and other miscellaneous business expenses incurred on

behalf of the Debtors (collectively, the “Reimbursable Expenses”). Generally, Employees pay

for Reimbursable Expenses personally and submit expense report forms to the Debtors for

reimbursement. In some cases, Employees may not have submitted reimbursement requests in

time to have been processed, or processing has not been completed, prior to the Petition Date. The

Debtors provide a monthly travel stipend to approximately a dozen Employees in the aggregate

approximating $7,350 per month. In the aggregate, the Debtors’ Employees incur, on average,

approximately $30,000 per month in Reimbursable Expenses, including the travel stipend. Based

on historical figures, the Debtors estimate approximately $25,000 remains outstanding on account

of prepetition Reimbursable Expenses as of the Petition Date and seek authority to honor such

obligations. Through the Wages Motion, the Debtors also seek authority, but not direction, to

honor such obligations arising from the Reimbursable Expenses as they accrue and to continue

such programs in the ordinary course.

        73.     Certain Employees have corporate credit cards with American Express (the

“Corporate Cards”) which they use to make authorized business purchases on behalf of the

Debtors. Although the Employees are primarily liable for the charges on the Corporate Cards, the

Debtors pay such Corporate Cards directly. Employees using the Corporate Cards must submit



                                                 30
20-12097-scc         Doc 13      Filed 09/10/20 Entered 09/10/20 13:49:23         Main Document
                                             Pg 31 of 75



expense reports for the charges incurred. There are approximately thirty-five Employees who

carry company-issued Corporate Cards that are used for various expenses including travel, tolls,

meals, photo shoots, and equipment.           In the aggregate, the Debtors’ Employees incur

approximately $55,000 to $60,000 per month in business expenses charged to the Corporate Cards.

Based on historical figures, the Debtors estimate approximately $55,000 remains outstanding on

account of prepetition business expenses charged to such corporate credit cards as of the Petition

Date. The use of the Corporate Cards is critical to the Debtors’ business operations insofar as it is

one of the mechanisms by which Employees’ expenses incurred in the ordinary-course discharge

of their employment duties are paid. Through the Wages Motion, the Debtors seek authority to

honor obligations arising from the Corporate Cards as they accrue and to continue such programs

in the ordinary course.

       Employee Benefit Plans

        74.        In the ordinary course of business, the Debtors maintain various employee benefit

plans and policies for their Employees, including medical, dental, and vision plans, life insurance,

short and long-term disability insurance, accident insurance, critical illness insurance, paid time

off, paid family leave, flexible spending and health savings accounts, and miscellaneous other

benefits (collectively, the “Benefits Plans”). The benefits available to non-union Employees

include medical plans, a dental plan, a vision plan, life insurance, short-term and long-term

disability, accident insurance, critical illness, vacation and other paid time off (collectively, the

“Non-Union Benefit Plans”).          The Debtors estimate, based on historical obligations and

withholdings that, as of the Petition Date, they are obligated to contribute approximately

$644,500 13 to the Non-Union Benefit Plans.


       13
            Not including PTO.


                                                  31
20-12097-scc         Doc 13      Filed 09/10/20 Entered 09/10/20 13:49:23           Main Document
                                             Pg 32 of 75



        75.        Eligible union-represented Employees participate in certain Employee benefit

programs, including medical plans, a dental plan, a vision plan, life insurance, accident insurance,

and critical illness (collectively, the “Union Benefit Plans”). The Debtors estimate, based on

historical obligations and withholdings that, as of the Petition Date, they are obligated to contribute

approximately $24,500 14 to the Union Benefit Plans.

       Health Care Plans

        76.        Eligible Employees can participate in programs, through Debtors’ sponsored

plans, which provide medical insurance coverage (the “Medical Plans”), dental insurance

coverage (the “Dental Plans”), and vision coverage (the “Vision Plans,” and, together with the

Medical Plans and Dental Plan, a union discount program, and any related administration of the

foregoing, the “Health Care Plans”).

        77.        Union Medical Plan. All union Employees are eligible for three plans of their

choice – two minimum essential coverage plans and one high deductible health plan – administered

by Prime Health/Magellan Rx and Aetna. Eligible Employees may participate in the Medical

Plans on the first of the month following sixty days of employment. The union Medical Plans are

self-funded by C21 Stores. The union Medical Plans have approximately 460 participants and the

annual cost to the Debtors is approximately $180,000. As of the Petition Date, the Debtors

estimate that approximately $21,000 remains outstanding on account of the union Medical Plan.

        78.        Non-Union Medical Plan. Non-union Employees are eligible for three Medical

Plans their choice – two copay plans and one high deductible health plan – administered by Prime

Health/Magellan Rx and Aetna. Eligible Employees include all non-union Employees. Eligible

Employees may participate in the Medical Plans on the first of the month following sixty days of


       14
            Not including PTO.


                                                  32
20-12097-scc      Doc 13     Filed 09/10/20 Entered 09/10/20 13:49:23            Main Document
                                         Pg 33 of 75



employment. The non-union Medical Plans are self-insured. The Debtors pay approximately $5

million per year on account of the non-union Medical Plans and there are 242 plan participants.

As of the Petition Date, the Debtors estimate that approximately $590,000 remains outstanding on

account of the non-union Medical Plan.

        79.     Union Dental Plan. The Debtors offer union Employees one dental maintenance

organization Dental Plan administered by Aetna. The plan is fully insured. All union Employees

are eligible to participate on the first of the month following sixty days of employment. The union

Dental Plan has approximately 355 participants as of the Petition Date.         The Debtors pay

approximately $13,000 per year on account of the union Dental Plans. As of the Petition Date, the

Debtors estimate that approximately $1,500 remains outstanding on account of the union Dental

Plan.

        80.     Non-Union Dental Plans. The Debtors offer non-union Employees a choice of two

Dental Plans – a dental maintenance organization plan and a preferred provider organization plan

– both administered by Aetna. The plans are fully insured. All non-union Employees are eligible

to participate on the first of the month following sixty days of employment. The non-union Dental

Plan has approximately 250 participants as of the Petition Date. The Debtors pay approximately

$11,000 per year on account of the non-union Dental Plans. As of the Petition Date, the Debtors

estimate that approximately $1,300 remains outstanding on account of the non-union Dental Plan.

        81.     Union Vision Plan. The Debtors offer union Employees one preferred provider

organization Vision Plan administered by Aetna. The plan is fully insured. All union Employees

are eligible to participate on the first of the month following sixty days of employment. The union

Vision Plan has approximately 375 participants as of the Petition Date. The Debtors have no costs




                                                33
20-12097-scc      Doc 13     Filed 09/10/20 Entered 09/10/20 13:49:23            Main Document
                                         Pg 34 of 75



on account of the union Vision Plan but intend to continue providing the plan to Employees

consistent with past practice.

        82.     Non-Union Vision Plan. The Debtors offer non-union Employees a preferred

provider organization Vision plan administered by Aetna. The plan is fully insured. All non-union

Employees are eligible to participate on the first of the month following sixty days of employment.

The non-union Vision Plan has approximately 210 participants as of the Petition Date. As of the

Petition Date, the Debtors estimate that approximately $200 remains outstanding on account of the

non-union Vision Plan.

        83.     The Debtors also provide union Employees with a dental/vision discount program

administered by Careington, which provides reduced pricing for select dental and vision

procedures and products. All union Employees are eligible to participate on the first of the month

following sixty days of employment. The union discount plan has approximately 510 participants

as of the Petition Date. The Debtors pay approximately $20,000 per year on account of the union

discount program. As of the Petition Date, the Debtors estimate that approximately $2,000 remains

outstanding on account of the union discount program.

       Insurance Plans

        84.     The Debtors provide eligible Employees with basic life insurance, short-term and

long-term disability, accident, and critical illness coverage (collectively, the “Insurance Plans”).

The Insurance Plans are administered by SunLife. Employees are eligible for benefits on the first

day of the month following the first sixty days of employment.

        85.     The Debtors provide automatic basic life insurance coverage equal to a flat benefit

of $100,000 for salaried non-union Employees and a flat $10,000 benefit for all other Employees.

The life insurance benefits are fully insured. The Debtors do not withhold on account of life



                                                34
20-12097-scc       Doc 13    Filed 09/10/20 Entered 09/10/20 13:49:23            Main Document
                                         Pg 35 of 75



insurance. Total costs to the Debtors of the life insurance plans are approximately $40,000 per

year.

        86.     The Debtors provide non-union Employees with long-term and short-term

disability coverage. The Debtors pay annual premiums of approximately $68,000 related to the

short-term disability coverage and pay 100% salary for the first 4 weeks. The long-term disability

coverage is 100% employee-paid. The Debtors also provide non-union Employees with short-

term disability benefits that are required under state law. In New York, when a claim is duly made,

the law requires the Debtors to pay 50% of the participant’s salary, up to a maximum payment of

$170 per week over a maximum term of 26 weeks. The short-term disability benefits are fully

insured. The Debtors pay approximately $70,000 per year on account of short-term disability

coverage and, as of the Petition Date, the Debtors estimate approximately $53,000 remains

outstanding on account of such claims.

        87.     The Debtors also offer union and non-union Employees accident and critical

illness insurance, which is fully funded by Employee premiums. The Debtors do not have any

costs related to this coverage, but intend to continue such programs consistent with past practice.

        New York State Paid Family Leave

        88.     For eligible Employees who work in the State of New York, the Debtors take a

weekly tax deduction amount contributable to the cost of the Debtors’ fully-insured paid family

leave benefit (the “NYSPFL”). The NYSPFL annual premium payment amount is equal to the

annual deduction in amounts taken from the New York state Employees. The deduction is based

upon compensation up to a cap of 0.27% of wages. The estimated Employee contribution to the

NYSPFL is approximately $5,000 per month. Through the Wages Motion, the Debtors seek

authority to honor their obligations under the NYSPFL and to continue such program in the

ordinary course.

                                                35
20-12097-scc      Doc 13     Filed 09/10/20 Entered 09/10/20 13:49:23             Main Document
                                         Pg 36 of 75



       Flexible Spending and Health Accounts

        89.     The Debtors offer the eligible Employees the ability to contribute a portion of their

pre-tax compensation to fund certain health care and expenses or dependent care expenses through

various programs administered by Benefit Resource (the “Flexible Spending Programs”). The

Debtors offer a flexible spending account to non-union Employees, who are eligible to participate

in the flexible spending account program after first of the month following initial sixty days of

employment. Flexible accounts are funded with Employee pre-tax payroll deductions and non-

Union Employees can use funds for eligible healthcare and commuting expenses.                Annual

contributions are subject to maximums required by law. The Debtors also offer a flexible spending

account to union Employees that does not include a commuter benefit. The Debtors pay a $2.50

per Employee per month administrative fee for the Flexible Spending Programs.

        90.     Furthermore, the Debtors provide health savings accounts (the “HSAs”) for non-

union Employees. Employees contribute pretax dollars to an account that can be used for eligible

medical expenses. The HSA programs are fully member-funded. Approximately seventy-five

Employees participate in the HSA program.

        91.     The Debtors estimate that they withhold approximately $2,900 per month to fund

program participants’ flexible spending accounts. As of the Petition Date, the Debtors estimate

that they may hold approximately $2,900 in withholdings intended to fund the Flexible Spending

Programs and HSAs. In addition, the Debtors pay Benefit Resource approximately $22,000 per

year in connection with various costs and fees related to the Flexible Spending Account Program

and HSAs and, as of the Petition Date, estimate that no amounts are outstanding on account of the

prepetition administrative fees.




                                                36
20-12097-scc         Doc 13       Filed 09/10/20 Entered 09/10/20 13:49:23                    Main Document
                                              Pg 37 of 75



          92.     Through the Wages Motion, the Debtors seek authority to honor their obligations

under the Flexible Spending Account Program and HSAs and intend to continue such program in

the ordinary course.

        Vacation and Paid Time Off

          93.     The Debtors provide paid time off (“PTO”) to eligible Employees (the “PTO

Policies”) in the form of vacation days, personal days and sick days. The Debtors maintain one

policy for non-union Employees 15 and offer union Employees PTO consistent with the terms of

the CBA. The accrual and use of paid time off under the PTO Policies varies depending on, among

other things, the Employee’s tenure, the Employee’s position, the particular type of paid time off

in question, the time of year (there are restrictions during the holiday season), and the discretion

of an Employee’s supervisor. 16 The Debtors estimate that they have accrued and unpaid PTO of

approximately $680,000

          94.     Through the Wages Motion, the Debtors seek authority to honor their prepetition

obligations under the PTO Policies and to continue such programs in the ordinary course.

Miscellaneous Benefits

          95.     The Debtors offer select miscellaneous benefits (the “Miscellaneous Benefits”)

to eligible Employees. As of the Petition Date, there are approximately 20 Employees and their

dependents as well as former Employees and their dependents who qualify and elect continuation

of benefits under the Consolidated Omnibus Budget Reconciliation Act of 1985 (“COBRA”). For


        15
                 Although referred to internally as the “Executive” PTO policy, the policy covers all non-union
Employees.

         16
                  The amount of annual vacation days available to a given program participant ranges from five to
30 days based on length of service and whether the Employee is a union or non-union member. Eligible Employees
receive six paid holidays, which are determined by a set schedule of holidays and are paid with regular payroll for
the applicable holiday week. The Debtors also offer Employees from three to six paid sick days depending on tenure
and position.


                                                        37
20-12097-scc      Doc 13      Filed 09/10/20 Entered 09/10/20 13:49:23            Main Document
                                          Pg 38 of 75



both union and non-union Employees, COBRA applies when the Employees and/or dependents

are no longer eligible for Debtors’ sponsored benefits. If the eligible Employee is participating in

the Debtors’ sponsored medical, vision, and/or dental benefits immediately prior to the termination

date, and are eligible for and timely elect to continue coverage under COBRA, the Debtors pay for

a certain period that is determined based on the eligible Employees’ job classification. The

COBRA claims run through the Debtors as if they were claims under the Debtors’ Health Benefits

Plans. COBRA is administered by Benefit Resource, which collects COBRA premiums from

participants. The Debtors do not anticipate any prepetition costs associated with the COBRA

program but intend to continue this program consistent with past practice.

        96.     The Debtors also offer pet insurance to Employees for veterinary care for their

pets which is 100% paid by employees. The Debtors do not anticipate any prepetition costs

associated with the pet insurance program and intend to continue this program consistent with past

practice.

       Benefits Consultants

        97.     In the ordinary course of business, the Debtors utilize the services of benefits

consultants, brokers, and third party administrators, including USI, OperationsInc, International

Planning Alliance, and Leading Edge. These third parties assist the Debtors with choosing,

delivering, and administering the Debtors benefits and Deferred Compensation Plans. The annual

cost to the Debtors for such services is approximately $650,000 annually. The Debtors do not

anticipate any prepetition amounts are owed, but request authority to continue the engagement

and payment of such consultants and brokers consistent with past practice.




                                                38
20-12097-scc          Doc 13       Filed 09/10/20 Entered 09/10/20 13:49:23                       Main Document
                                               Pg 39 of 75



          Retirement Plans

          98.      With respect to the union-represented Employees, the Debtors remit Employee

401(k) contributions to a union-sponsored plan 17 Under the CBA, eligible union Employees are

able to participate in a 401(k) savings plan sponsored by the Union (the “Union 401(k) Plan”).

The Debtors deduct Employee contributions weekly for Employees that have elected to participate

and remit those contributions to the union 401(k) plan. In total, the Debtors deduct approximately

$3,900 per month on account of the union 401(k) plan, and approximately $600 has accrued on

account of this program as of the Petition Date.

          99.      The Debtors maintain defined contribution plans for the benefit of all non-union

eligible Employees meeting the requirements of sections 401(a) and 401(k) of the Internal Revenue

Code (the “Non-Union 401(k) Savings Plan” and together with the Union 401(k) Plan, the

“Retirement Plans”), which are managed by Principal as the record keeper.                                  There are

approximately 686 Employees or former employees with current account balances in the Non-

Union 401(k) Savings Plan, with a total of approximately $56,000 withheld each bi-weekly period

from program participants’ paychecks on account thereof. The Debtors currently have a matching

program for non-union program participants, who are eligible after they have both completed one

year of employment and reached twenty-one years of age. Pursuant to this program, the Debtors

match program participants’ contributions at a rate of 2.5% of eligible compensation the Employee

contributes to their 401(k) plan account. The Debtors estimate they pay approximately $13,000

per bi-weekly pay period in matching contributions under the Non-Union 401(k) Savings Plan. As




         17
            The Debtors historically maintained a pension plan for union Employees, however, as of April 29, 2011
the Debtors stopped making contributions to the pension plan and the plan was terminated. The Debtors are subject
to a negotiated termination liability. The Debtors, however, do not seek to honor this liability in connection with the
Wages Motion.


                                                          39
20-12097-scc        Doc 13    Filed 09/10/20 Entered 09/10/20 13:49:23           Main Document
                                          Pg 40 of 75



of the Petition Date, the Debtors estimate that they may hold approximately $45,000 in prepetition

401(k) withholdings and approximately $11,000 has accrued on account of prepetition matching

obligations.

           Need for the Relief Requested

           100.   The Employees perform critical functions, including sales, customer service,

information technology, purchasing, administrative, accounting, finance, and management-related

tasks. Their skills and experience, as well as their relationships with customers and vendors and

knowledge of the Debtors’ infrastructure, are essential to the Debtors’ ongoing operations and

ability to effectively operate their businesses during these Chapter 11 Cases.

           101.   The relief requested in the Wages Motion is necessary for the Debtors to be able

to maintain morale and maximize value while effectuating the Debtors’ chapter 11 goals. Absent

the relief sought in the Wages Motion, the Debtors’ Employees may seek alternative opportunities,

perhaps with the Debtors’ competitors. The loss of valuable Employees would deplete the

Debtors’ workforce, thereby hindering the Debtors’ ability to meet their customer obligations and,

likely, diminishing stakeholder confidence in the Debtors’ ability to successfully maximize value

for all stakeholders. Moreover, I believe the Debtors’ failure to satisfy Employee Obligations

would jeopardize Employee morale and loyalty at a time when Employee support is most critical

to the Debtors’ businesses, particularly during the current store optimization and restructuring

period. Increased instability in the Debtors’ workforce will undermine the Debtors’ ability to

operate effectively to complete the liquidation and maximize value for the Debtors and their

estates.

           102.   The majority of the Debtors’ Employees rely exclusively on their compensation

and benefits to satisfy their daily living expenses. These Employees would be exposed to significant



                                                40
20-12097-scc        Doc 13     Filed 09/10/20 Entered 09/10/20 13:49:23              Main Document
                                           Pg 41 of 75



financial difficulties and other distractions if the Debtors are not permitted to honor their obligations

for unpaid compensation, benefits, and reimbursable expenses. Furthermore, if the Court does not

authorize the Debtors to honor their various obligations under the insurance programs, the

Employees may not receive health coverage and, thus, may become obligated to pay certain health

care claims in the absence of insurance coverage. The loss of health insurance would result in

considerable anxiety for Employees (and likely lead to attrition) at a time when the Debtors need

such Employees to perform their jobs at peak efficiency. Additionally, as noted above, Employee

attrition would cause the Debtors to incur additional expenses to find appropriate and experienced

replacements, severely disrupting the Debtors’ operations at a critical juncture.

         103.    Accordingly, for the reasons set forth herein and in the Wages Motion, I

respectfully submit that the relief requested in the Wages Motion is necessary and critical to the

Debtors’ ability to preserve value for the benefit of the Debtors’ estates, their creditors, and all

parties-in-interest, and will enable the Debtors to continue to operate their businesses in these

Chapter 11 Cases with minimal disruption, thereby maximizing the value for the estates. Absent

the relief sought in the Wages Motion, the Debtors and their estates would suffer immediate and

irreparable harm.

    E. Debtors’ Motion Pursuant to 11 U.S.C. §§ 105(a), 363(b), and 503(b) for Interim and
       final Authority to (I) Maintain, Renew, and Continue Their Insurance Policies and
       Programs and (II) Honor All Insurance Obligations (the “Insurance Motion”)

         104.    In the Insurance Motion, the Debtors seek (a) authority, but not direction to

(i) continue to maintain, renew, or terminate, in their sole discretion, their Insurance Policies and

Programs (including the Workers’ Compensation Program and the Debtors’ premium financing

arrangements) and the Surety Bond Program (as defined herein), (ii) honor their Insurance and

Surety Obligations (as defined herein) in the ordinary course of business during the administration



                                                   41
20-12097-scc      Doc 13     Filed 09/10/20 Entered 09/10/20 13:49:23             Main Document
                                         Pg 42 of 75



of these Chapter 11 Cases, (iii) pay any prepetition Insurance Obligations, including, without

limitation, amounts owed under the Premium Financing Agreements and to the Insurance Service

Providers (each as defined herein), and (b) modification of the automatic stay if necessary to permit

the Debtors’ employees to proceed with any claims they may have under the Workers’

Compensation Program.

        105.    The aggregate annual cost of the Insurance Premiums is approximately $6.5

million. Many of the Debtors’ policies renew in August and September. Approximately $781,000

in Insurance Premiums on account of recently renewed and financed Insurance Policies for

workers’ compensation, general liability, and automobile policies will become due and owing in

the first thirty days following the Petition Date. By the Insurance Motion, the Debtors seek

authority, but not direction, to pay such Insurance Premiums, any other Insurance Premiums that

may become due and owing during these Chapter 11 Cases.

Workers Compensation Program

        106.    The Debtors maintain workers’ compensation insurance, as required by state

statutes, that insures their employees in each of the states in which they operate (the “Workers’

Compensation Program”). The Workers’ Compensation Program is composed of two policies,

provided by Everest and New York State Insurance Fund. As of the Petition Date, there are

approximately eighteen open claims under the Workers’ Compensation Program. The Debtors’

workers’ compensation policies provide first dollar coverage. Accordingly, the Debtors do not

anticipate any amounts to be owing postpetition with respect to workers’ compensation claims.

        107.    In addition, insurance carriers and self-insured employers are required to pay state

assessments to cover the administrative costs of the state workers’ compensation board, and

insurance carriers pass through the cost to employers through a surcharge on annual premiums.



                                                 42
20-12097-scc      Doc 13     Filed 09/10/20 Entered 09/10/20 13:49:23            Main Document
                                         Pg 43 of 75



Assessments are billed by states in which the Debtors currently operate, as well as by states in

which the Debtors previously operated, and for which workers’ compensation claims remain

pending. As of the Petition Date, the Debtors owe approximately $150,000 in state assessments

        Financing Agreements

        108.    Generally, the Debtors’ Insurance Policies require annual premium payments to

be made at the beginning of the applicable policy period. Because it is not always economically

advantageous for the Debtors to pay premiums on a lump-sum basis, the Debtors finance certain

of their Insurance Premiums, typically in the amount of approximately $2.75 million per year,

including for policies relating to property and general liability. The Debtors finance such policies

pursuant to premium financing agreements (the “Premium Financing Agreements”), with certain

financiers (the “Premium Financiers”).

        109.    Under the Premium Financing Agreements, the Premium Financiers have agreed

to pay the financed premium payments to the Debtors’ respective Insurance Carriers when due.

In exchange, the Debtors agreed to pay the Premium Financiers a down payment (currently

approximately 20-55% of the total premium) followed by monthly installments of smaller

payments. The amounts financed under the Premium Financing Agreements currently accrue

interest at a rate of approximately 3.25%. As part of the Premium Financing Agreements, the

Debtors granted the Premium Financiers a security interest in, among other things, any and all

unearned premiums and dividends which may become payable for any reason under the financed

Insurance Policies. If the Debtors do not satisfy their obligations under the Premium Financing

Agreements, the Premium Financiers have the right, subject to the automatic stay, to, among

other things, terminate covered Insurance Policies. As of the Petition Date, the Debtors are not

aware of any outstanding prepetition amounts owed to the Premium Financiers under the



                                                43
20-12097-scc           Doc 13       Filed 09/10/20 Entered 09/10/20 13:49:23                    Main Document
                                                Pg 44 of 75



Premium Financing Agreements, but do anticipate payments will be made in the first twenty-one

days of the Chapter 11 Cases.

        Insurance Service Providers

             110.    In connection with the Insurance Policies and Programs, the Debtors employ

certain insurance service providers (the “Insurance Service Providers”) to help them procure,

negotiate, and evaluate the Insurance Policies and Programs and process claims related thereto.

             111.    The Debtors utilize certain insurance brokers, such as MSG Consulting, Inc.,

Alliant, I. Dachs & Sons, and others, (the “Insurance Brokers”), to assist with the procurement

and negotiation of certain Insurance Policies and, in certain circumstances, to remit payment to the

Insurance Carriers on behalf of the Debtors for the relevant policy periods. The Insurance Brokers’

fees (the “Broker Fees”) are generally paid through the premium payments made on account of

the Insurance Policies. In addition, the Debtors pay a consulting fee of approximately $200,000

annually to MSG Consulting. The Debtors estimate that they have no outstanding obligations

owed to the Insurance Brokers for Broker Fees. Because of the Insurance Brokers’ intimate

familiarity with the Debtors and the Insurance Policies, and their ability to maintain coverage for

the Debtors as required, the Debtors however request authority, but not direction, to pay any

prepetition Broker Fees that may be owed to the Insurance Brokers.

        Historical Surety Bond Program

             112.    Although the Debtors do not have any active surety bonds outstanding, 18

historically, the Debtors maintained a surety bond program (the “Surety Bond Program”). In the

ordinary course of business, the Debtors have been required to provide surety bonds to certain



        18
                    Prior to the Petition Date, the Debtors maintained a customs bond, however, this bond has been
cancelled.


                                                          44
20-12097-scc       Doc 13     Filed 09/10/20 Entered 09/10/20 13:49:23              Main Document
                                          Pg 45 of 75



third parties (the “Obligees”), including governmental units and other public agencies, to secure

the Debtors’ payment or performance of certain obligations in connection with import customs

duties, or other obligations as may arise in the ordinary course of business (the “Surety Bonds”).

        113.    It may be necessary for the Debtors to renew or enter into new surety bonds in the

ordinary course of business and consistent with past practice. Accordingly, the Debtors have

requested authority to enter into or renew Surety Bonds with the consent of the Prepetition Agent.

       Importance of the Programs

        114.    The Debtors’ Insurance Policies and Programs are essential to the preservation of

value of the Debtors’ businesses, leasehold estates, and assets. I understand that, in many instances,

the insurance coverage provided by the Insurance Policies and Programs, including the Workers’

Compensation Programs, is required by the various regulations, laws, and contracts that govern the

Debtors’ commercial activities as well as by the Bankruptcy Code and the U.S. Trustee.

Accordingly, failure to honor the Insurance Obligations could have a significant negative impact

on the Debtors’ operations.

        115.    The Insurance Policies and Programs are essential to preserving the value of the

Debtors’ business operations and assets. Accordingly, for the reasons set forth herein and in the

Insurance Motion, I respectfully submit that the relief requested in the Insurance Motion is in the

best interests of the Debtors, their estates, and all parties-in-interest and will enable the Debtors

to continue to operate their businesses and preserve the value of their estates. Absent the relief

requested, the Debtors and their estates would suffer immediate and irreparable harm.

   F. Motion of Debtors Requesting Entry of an Order (I) Approving Debtors’ Proposed
      Form of Adequate Assurance of Payment To Utility Providers, (II) Establishing
      Procedures for Determining Adequate Assurance of Payment for Future Utility
      Services, and (III) Prohibiting Utility Providers from Altering, Refusing, or
      Discontinuing Utility Service (the “Utility Motion”)



                                                  45
20-12097-scc          Doc 13       Filed 09/10/20 Entered 09/10/20 13:49:23                     Main Document
                                               Pg 46 of 75



          116.     Pursuant to the Utility Motion, the Debtors seek entry of an order (i) approving the

Debtors’ proposed form of adequate assurance of payment to utility providers, (ii) establishing

procedures for determining adequate assurance of payment for future utility services, and (iii)

prohibiting utility providers from altering or discontinuing utility service on account of outstanding

prepetition invoices.

          117.     In the ordinary course of their business, the Debtors incur utility expenses,

including electricity, water, and telecommunications.                   Approximately 115 utility providers

(collectively, the “Utility Providers”) provide services to the Debtors.

          118.     On average, the Debtors spend approximately $630,000 each month on utility

costs and estimate that, as of the Petition Date, approximately $900,000 worth of utility costs are

outstanding.

          119.     The Debtors intend to pay postpetition obligations owed to the Utility Providers

in a timely manner. The Debtors expect that cash flows from operations and use of cash collateral

will be sufficient to pay postpetition obligations related to their utility services in the ordinary

course of business.

          120.     Furthermore, the Debtors propose to deposit into a segregated, interest-bearing

bank account (the “Adequate Assurance Account”) a sum equal to the cost of two weeks’ worth

of the average utility cost for each Utility Provider 19 based on the Debtors’ estimate of their

average usage for the months of April through July 2020 (collectively, the “Adequate Assurance

Deposit”). As of the Petition Date, the Debtors estimate the Adequate Assurance Deposit to total

approximately $315,726.32.



         19
                   To the extent any deposits with any Utility Provider is in excess of two weeks’ worth of the
average utility cost, the Debtors reserve their right to demand such excess amounts.


                                                         46
20-12097-scc        Doc 13    Filed 09/10/20 Entered 09/10/20 13:49:23             Main Document
                                          Pg 47 of 75



        121.    Although the Adequate Assurance Deposit will be placed into a single bank

account, two weeks’ worth of estimated utility costs will be separately allocated for, and payable

to, each Utility Provider. Specifically, if the Debtors fail to pay a utility bill when due (including

the passage of any cure period), the relevant Utility Provider shall provide notice of such default

to the Debtors and counsel for the prepetition administrative agent. If within five (5) business days

of the Debtors’ receipt of such notice, the bill is not paid, the Utility Provider may file an

application with the Court certifying that payment has not been made and requesting the amount

due up to an aggregate maximum equal to the Adequate Assurance Deposit allocable to such

Utility Provider.

        122.    I believe that the Adequate Assurance Deposit, in conjunction with the cash flow

from operations and cash on hand demonstrate the Debtors’ ability to pay for future utility services

in the ordinary course of business (collectively, the “Proposed Adequate Assurance”) and

constitute sufficient adequate assurance to the Utility Providers.

        123.    Preserving utility services on an uninterrupted basis is essential to the Debtors’

operations. Any interruption in utility services, however brief, would seriously disrupt the Debtors’

ability to maximize value for the benefit of their creditors. Therefore, it is critical that utility

services continue uninterrupted during these Chapter 11 Cases. I am advised that if the Adequate

Assurance Procedures are not approved, the Debtors may be (and I believe likely will be) confronted

with and forced to address numerous requests by their Utility Providers at a critical point in their

Chapter 11 Cases. Moreover, the Debtors could be blindsided by a Utility Provider unilaterally

deciding—on or after the 30th day following the Petition Date—that it is not adequately protected

and either making an exorbitant demand for payment to continue service or electing to discontinue




                                                 47
20-12097-scc          Doc 13       Filed 09/10/20 Entered 09/10/20 13:49:23                      Main Document
                                               Pg 48 of 75



service to the Debtors altogether. Such an outcome could seriously jeopardize the Debtors’

operations, asset values, and ability to maximize recoveries to their stakeholders.

          124.     Accordingly, for the reasons set forth herein and in the Utilities Motion, I

respectfully submit that the relief requested in the Utilities Motion is necessary and in the best

interests of the Debtors’ estates, their creditors, and all parties-in-interest and will enable the Debtors

to continue to operate their business and to safeguard the value of their estates.

     G. Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors
        to Assume the Consultant Agreement, (II) Approving Procedures for Store Closing
        Sales, and (III) Approving the Implementation of Customary Store Bonus Program
        and Payments to Non-Insiders Thereunder (the “Store Closing Motion”)

          125.     In the Store Closing Motion, the Debtors seek entry of the Interim and Final

Orders: (a)(1) authorizing, upon entry of a Final Order, the Debtors to assume the agreement dated

as of September 1, 2020, by and among Hilco Merchant Resources, LLC (together with Gordon

Brothers Retail Partners, LLC, the “Consultant”), 20 on the one hand, and the Debtors, on the other

(as amended, modified, or restated as of the date hereof, and together with all exhibits thereto, the

“Store Closing Agreement”) and (2) confirming, upon entry of the Interim Order, that the Store

Closing Agreement is operative and effective until the Court considers the relief requested by the

Motion on a final basis, (b) authorizing the Debtors to continue to conduct store closing sales

(collectively, the “Closing Sales”) at the store locations listed on Exhibit A to the Store Closing

Agreement (the “Closing Stores”) and, if requested by the Debtors, through the Debtors’ e-

commerce platform, in accordance with the proposed sale guidelines (the “Sale Guidelines”), with

such sales to be free and clear of all liens, claims, encumbrances, and interests (collectively, the


20
         Pursuant to Section N of the Store Closing Agreement, Hilco Merchant Resources, LLC (“HMR”) was
authorized to syndicate this transaction with a third party upon notice to the Debtors. In accordance with the Store
Closing Agreement, after notice to the Debtors, HMR syndicated the transaction with Gordon Brothers Retail
Partners, LLC (“GBRP”).


                                                          48
20-12097-scc         Doc 13      Filed 09/10/20 Entered 09/10/20 13:49:23                     Main Document
                                             Pg 49 of 75



“Encumbrances”), (c) approving the proposed dispute resolution procedures described herein to

resolve any disputes with governmental units regarding certain applicable non-bankruptcy laws

that regulate liquidation and similar-themed sales, (d) authorizing customary bonuses to non-

insider Closing Store employees who remain employed for the duration of the applicable Closing

Sale (collectively, the “Store Closing Bonuses”), and (e) approving the Debtors’ strategic plan in

connection with the closure of each of their retail locations by giving effect to the above-referenced

documents and implementing the above-referenced procedures (the “Store Closing Plan”).

Background

         126.     The Debtors reached out to two nationally-recognized liquidation firms so that

such parties could provide proposals for the liquidation of the Debtors’ inventory (as defined in

the Store Closing Agreement, the “Merchandise”) and the Debtors’ furniture, fixtures, and

equipment (collectively, the “FF&E” 21 and, together with the Merchandise, the “Store Assets”).

The Debtors provided the liquidation firms with access to a data room with all of the relevant

information necessary to build a liquidation model and for the liquidation firms to evaluate the

potential transaction. The Debtors obtained two proposals from liquidators.

         127.     After evaluating the proposals, providing each of the liquidation firms with the

opportunity to submit their best and final proposals and consulting with their senior secured

lenders, the Debtors determined that the bid submitted by the Consultant was in the best interests

of the Debtors and their estates. The Debtors made this determination after considering numerous

factors, including, but not limited to, (a) the Consultant’s prior experience handling the liquidation



21
         For the avoidance of doubt, the FF&E includes furniture, fixtures, and equipment (including owned
furnishings, trade fixtures, equipment and improvements to real property) owned by the Debtors wherever those items
may be located, including, for example, the Debtors’ corporate offices, distribution centers, warehouses, and the
Closing Stores.


                                                        49
20-12097-scc          Doc 13      Filed 09/10/20 Entered 09/10/20 13:49:23                      Main Document
                                              Pg 50 of 75



of various similar retailers, (b) the amount and experience of supervisors designated by the

Consultant to handle the project, (c) potential upside that could be realized under a “fee” based

structure, 22 (d) the ability of the Consultant to supplement the Debtors’ inventory with additional

goods procured by the Consultant (referred to in the Store Closing Agreement as the “Additional

Agent Goods”), and (e) overall economics.

          128.     In short, the Debtors determined that entering into the Store Closing Agreement

and commencing Closing Sales immediately was essential to ensure that the liquidation of the

Store Assets is managed efficiently and effectively.

          129.     The Debtors negotiated the terms and conditions of the Store Closing Agreement

in good faith and at arms’ length, and entered into the Store Closing Agreement on September 1,

2020.     In order to avoid, among other potential negative outcomes, a disorganized “self-

liquidation” scenario, i.e., a scenario in which more desirable items sell faster than items with a

slower turnover, the Closing Sales began on September 3, 2020, immediately following entry into

the Store Closing Agreement.

          130.     The Debtors anticipate that the Closing Sales will take three months to complete.

By moving expediently, the Debtors hope to maximize overall recovery for the estates while

minimizing the Debtors’ liabilities.

          Liquidation Laws

          131.     Certain Closing Stores may be subject to (a) liquidation laws, which include, but

are not limited to, various federal, state, and local statutes, ordinances, rules, and licensing



22
          A “fee” based structure generally provides for a commission or fee to the liquidation firm in exchange for
assisting with the sale of particular asset(s) in addition to reimbursing the liquidation firm for its out-of-pocket
expenses. The “fee” based structure allows the company to retain a majority of the dollars realized for the asset(s)
since the liquidation firms do not risk their own capital and also gives the Debtors the maximum amount of
flexibility in the process.


                                                         50
20-12097-scc      Doc 13     Filed 09/10/20 Entered 09/10/20 13:49:23            Main Document
                                         Pg 51 of 75



requirements directed at regulating “going out of business,” “store closing,” “sale on everything,”

“everything must go,” “liquidation sale,” or similar themed sales, (b) bulk sale laws, laws

restricting safe, professional, and non-deceptive customary advertising such as signs, banners,

posting of signage, and use of sign-walkers in connection with the sale, including ordinances

establishing license or permit requirements, waiting periods, time limits, or (c) bulk sale

restrictions that would otherwise apply solely to the sale of the Store Assets (collectively, the

“Liquidation Laws”). While many such Liquidation Laws do not apply to court-ordered sales,

some Liquidation Laws may not expressly carve-out court-ordered sales.

        Fast Pay Laws

        132.    Many states in which the Debtors operate have laws and regulations that require

the Debtors to pay an employee substantially contemporaneously with his or her termination (the

“Fast Pay Laws” and, together with the Liquidation Sale Laws, the “Applicable State Laws”).

These laws often require payment to occur immediately or within a period of only a few days from

the date such employee is terminated.

        133.    The nature of the Closing Sales contemplated by this Motion will result ultimately

in each of the Store-level employees being terminated during the Closing Sales. To be clear, the

Debtors intend to pay their terminated employees as expeditiously as possible and under normal

payment procedures. However, the Debtors’ payroll systems will simply be unable to process the

payroll information associated with these terminations in a manner that will be compliant with the

Fast Pay Laws.     Under ordinary circumstances, the Debtors’ payroll department is able to

coordinate delivery of final checks to coincide with an employee’s final day of work where

required by state law. This process requires the Debtors’ payroll department to calculate individual

termination payments, prepare each termination payment check, obtain authorization for each such



                                                51
20-12097-scc       Doc 13     Filed 09/10/20 Entered 09/10/20 13:49:23              Main Document
                                          Pg 52 of 75



check, and then prepare each such check for mailing. Given the number of employees who will

be terminated during the Closing Sales, this process could easily take several days, making

compliance with the Fast Pay Laws burdensome to the Debtors’ estates, if not impossible.

        Return and Exchange Policies

        134.    Consistent with industry practice and to accommodate customers’ needs, the

Debtors maintain liberal return, exchange, and store credit policies with respect to both in-store

and online purchases (collectively, the “Return and Exchange Policies”). For example,

Century21.com provides for a forty-five-day return policy from the order date. Similarly, the in-

store return policy is forty-five days from the date of purchase with exceptions for certain items

that have a shorter return policy. As a result of the COVID-19 pandemic, the Debtors have allowed

customers to return items purchased since February 4, 2020, and to return items purchased thirty

days after store reopening.

        135.    In order to maintain the goodwill of their customers, many of whom will likely

purchase items during the Closing Sales, the Debtors propose to slightly amend their Return and

Exchange Policies so to allow the Debtors to permit returns and exchanges for items purchased

prior to the entry of the Interim Order until the earlier of (a) the applicable policy under the Return

and Exchange Policies and (b) thirty days following the Petition Date (the “Modified Return

Policy”).

Customer Programs

       Gift Cards

        136.    The Debtors maintain a program (the “Gift Card Program”) through which their

customers can purchase physical, non-expiring gift cards in various denominations (the “Gift

Cards”). The Debtors historically sold the Gift Cards in their retail stores and through their



                                                  52
20-12097-scc      Doc 13     Filed 09/10/20 Entered 09/10/20 13:49:23             Main Document
                                         Pg 53 of 75



website. On occasion, the Debtors also sell and distribute Gift Cards in connection with sales

promotions, other special events or to members of their C21STATUS loyalty program described

below. All of the Debtors’ Gift Cards can be redeemed in-store or online.

        137.    As of the Petition Date, the Debtors have suspended the issuance of new Gift Cards

and notified third-party vendors to cease selling the Gift Cards through other retailers and to pull

any unsold Gift Cards from the shelves. By this Motion, the Debtors propose to continue honoring

all Gift Cards for thirty days following the Petition Date.

Loyalty Program

        138.    The Debtors operate a customer loyalty program, “C21STATUS,” whereby

customers who sign up for “loyalty” accounts can accrue reward points for each dollar spent

towards award certificates. The Debtors also have “C21STATUS” branded credit cards with

respect to which credit cardholders accrue reward points for all purchases made on the credit cards.

However, as of the Petition Date, the Debtors have discontinued the C21STATUS program and

are no longer honoring reward points or any other benefits accrued thereunder. Accordingly, the

Debtors do not seek authority to continue the C21STATUS program on a postpetition basis or to

compensate loyalty members for benefits accrued prepetition.

        139.    The credit cards are issued by Comenity Capital Bank (“Comenity”), which bears

all credit risks associated with the cards. While the primary purpose of offering the credit cards is

to increase customer loyalty and drive sales, the Debtors also receive credit card revenue through

a program agreement with Comenity, which provides the Debtors with certain financial benefits.

       Coupons and Sale Promotions

        140.    The Debtors occasionally have maintained a coupon redemption program pursuant

to which they distribute and honor their own coupons (the “Coupons”). Further, in the ordinary



                                                 53
20-12097-scc      Doc 13      Filed 09/10/20 Entered 09/10/20 13:49:23           Main Document
                                          Pg 54 of 75



course of business, the Debtors have conducted sales promotions, either online or at selected stores

(the “Sales Promotions”), which have included “buy one get one free” programs, cash off future

purchases, seasonal discounts, online promotions and discount codes, and free shipping

promotions. Although the Debtors propose do not believe that any unexpired Coupons or Sales

Promotions are in circulation or pending, as of the Petition Date, the Debtors nonetheless do not

intend to honor Coupons or Sales Promotions in light of discounts that will apply to the Closing

Sales.

         Store Closing Plan

         141.   Through this Motion, the Debtors are requesting the authority, but not the

obligation, to pay Store Closing Bonuses (the “Store Closing Bonus Plan”) to Store-level non-

insider employees, who remain in the employ of the Debtors during the Closing Sales. The Debtors

believe that the Store Closing Bonus Plan will motivate employees during the Closing Sales and

will enable the Debtors to retain those employees necessary to successfully complete the Closing

Sales. Payments under the Store Closing Bonus Plan, if any, are to be made exclusively to non-

insiders and on the condition of employment through the date on which the respective employee’s

Store closes.

         142.   The amount of the Store Closing Bonuses offered under the Store Closing Bonus

Plan will vary depending upon a number of factors, including the employee’s position with the

Debtors and the duration of his or her employment.

         143.   Providing such non-insider bonus benefits is critical to ensuring that key

employees that will be affected by the reduction in the Debtors’ workforce due to the Store

Closings will continue to provide critical services to the Debtors during the ongoing Store Closing




                                                54
20-12097-scc        Doc 13    Filed 09/10/20 Entered 09/10/20 13:49:23            Main Document
                                          Pg 55 of 75



process. For the avoidance of doubt, the Debtors do not propose to make any payment on account

of Store Closing Bonuses to any insiders.

         144.    In order to ensure a successful Store Closing and Closing Sale process and

maximize revenues for the benefit of the Debtors’ estates, the Store Closing Bonuses incentivize

store management to provide uninterrupted leadership during this challenging period, and tie

payment to maintaining employment with the Debtors through the conclusion of the Closing Sales.

Accordingly, the Debtors respectfully submit that the Store Closing Bonus Plan is in the best

interests of their estates.

         Importance of Relief

         145.    The Debtors filed these Chapter 11 Cases to liquidate their assets and maximize

distributions to their creditors. The Closing Sales further both of these goals: with the cooperation

of their employees and the services of the Consultant, the Debtors will be able to liquidate Store

Assets at the Closing Stores so that the Debtors can exit the Closing Stores quickly and efficiently,

thereby monetizing their assets and eliminating related expenses.

         146.    The Closing Sales are a significant component of the Debtors’ efforts to maximize

value because these Closing Sales enable the Debtors to sell Store Assets at the Closing Stores in

a manner that is designed to maximize efficiency and increase overall profitability. Allowing the

Closing Sales – which commenced prepetition – to proceed in accordance with the Sale Guidelines

will allow the Debtors to most efficiently and quickly monetize the Store Assets in a uniform and

orderly process with the assistance of an experienced consultant.

         147.    Assumption of the Store Closing Agreement will allow the Debtors to engage the

Consultant, on a postpetition basis, to manage the Closing Sales at the Closing Stores. The

Consultant is experienced in facilitating processes such as the Closing Sales and will help the



                                                 55
20-12097-scc        Doc 13     Filed 09/10/20 Entered 09/10/20 13:49:23             Main Document
                                           Pg 56 of 75



Debtors maximize their recovery on the Store Assets located at all Closing Stores for the benefit

of the Debtors’ estates and their creditors.

           148.   Given the complexity of the Closing Sales across various states and given the

multitude of stores, the Consultant will provide invaluable strategic, managerial, and accounting

services, allowing the Debtors to focus their efforts on other key aspects of their chapter 11 efforts.

Therefore, efficient and effective liquidation sales and procedures, as contemplated by the Sale

Guidelines, and the services to be provided by the Consultant will allow the Debtors to more

quickly vacate those locations and avoid the accrual of unnecessary administrative expenses.

           149.   On the other hand, if the Debtors do not assume the Store Closing Agreement and

their obligations thereunder, the Debtors’ estates will suffer significant and irreparable harm

because they will likely lose the benefit of the Consultant’s momentum initiated prior to the

Petition Date. As a result, the Debtors and their advisors will likely need to suspend the Closing

Sales, which would then require the Debtors to devote substantial time and effort preparing for

and managing the Closing Sales internally, or to once again seek bids from other advisors who

could prepare for and run the Closing Sales, a process the Debtors have already undertaken prior

to the Petition Date in connection with the selection of Consultant and commencement of the

Closing Sales. Ultimately, such disruption and delay would materially increase the Debtors’

administrative expenses and overall losses, without any associated benefits of such delays to their

estates.

           150.   I believe Debtors’ failure to continue conducting the Closing Sales would result in

immediate and irreparable harm to the Debtors’ estates. Given that the sales began prepetition and

are well underway, any unnecessary delay and expense will severely disrupt the Debtors’ efforts

in these Chapter 11 Cases and decrease the recovery to the Debtors’ estates from the Closing Sales.



                                                  56
20-12097-scc      Doc 13     Filed 09/10/20 Entered 09/10/20 13:49:23            Main Document
                                         Pg 57 of 75



                     VII.    Information Required by Local Rule 1007-2

        151.    In accordance with Local Rule 1007-2, the schedules attached hereto provide

certain information related to the Debtors.

           a. Pursuant to Local Rule 1007-2(a)(3), Schedule 1 hereto lists the names and
              addresses of the members of, and attorneys for, any official committee organized
              prior to the Petition Date and a brief description of the circumstances surrounding
              the formation of the committee and the date of its formation.

           b. Pursuant to Local Rule 1007-2(a)(4), Schedule 2 hereto lists the holders of the
              Debtors’ twenty (20) largest unsecured claims on a consolidated basis, excluding
              claims of insiders.

           c. Pursuant to Local Rule 1007-2(a)(5), Schedule 3 hereto lists the holders of the
              five (5) largest secured claims against the Debtors on a consolidated basis.

           d. Pursuant to Local Rule 1007-2(a)(6), Schedule 4 hereto provides a summary of
              the (unaudited) consolidated assets and liabilities for the Debtors and their non-
              Debtor affiliates.

           e. Pursuant to Local Rule 1007-2(a)(7), Schedule 5 hereto provides the following
              information: the number and classes of shares of stock, debentures, and other
              securities of the Debtors that are publicly held and the number of record holders
              thereof; and the number and classes of shares of stock, debentures, and other
              securities of the Debtors that are held by the Debtors’ directors and officers, and
              the amounts so held.

           f. Pursuant to Local Rule 1007-2(a)(8), Schedule 6 hereto provides a list of all of the
              Debtors’ property in the possession or custody of any custodian, public officer,
              mortgagee, pledgee, assignee of rents, secured creditor, or agent for any such
              entity, giving the name, address, and telephone number of each such entity and
              the location of the court in which any proceeding relating thereto is pending.

           g. Pursuant to Local Rule 1007-2(a)(9), Schedule 7 hereto provides a list of the
              premises owned, leased, or held under other arrangement from which the Debtors
              operate their businesses.

           h. Pursuant to Local Rule 1007-2(a)(10), Schedule 8 hereto provides the location of
              the Debtors’ substantial assets, the location of their books and records, and the
              nature, location, and value of any assets held by the Debtors outside the territorial
              limits of the United States.

           i. Pursuant to Local Rule 1007-2(a)(11), Schedule 9 hereto provides a list of the
              nature and present status of each action or proceeding, pending or threatened,
              against the Debtors or their property where a judgment against the Debtors or a
              seizure of their property may be imminent.

                                                57
20-12097-scc   Doc 13     Filed 09/10/20 Entered 09/10/20 13:49:23          Main Document
                                      Pg 58 of 75



        j. Pursuant to Local Rule 1007-2(a)(12), Schedule 10 hereto provides a list of the
           names of the individuals who comprise the Debtors’ existing senior management,
           their tenure with the Debtors, and a brief summary of their relevant
           responsibilities and experience.

        k. Pursuant to Local Rule 1007-2(b)(1)-(2)(A), Schedule 11 hereto provides the
           estimated amount of weekly payroll to the Debtors’ employees (not including
           officers, directors, stockholders, and partners) and the estimated amount to be
           paid to officers, stockholders, directors, members of any partnerships, and
           financial and business consultants retained by the Debtors for the thirty (30) day
           period following the filing of the Debtors’ Chapter 11 Cases as the Debtors intend
           to continue to operate their businesses.

        l. Pursuant to Local Rule 1007-2(b)(3), Schedule 12 hereto provides, for the thirty
           (30) day period following the filing of the Chapter 11 Cases, a list of estimated
           cash receipts and disbursements, net cash gain or loss, obligations, and
           receivables expected to accrue that remain unpaid, other than professional fees.



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                                            58
20-12097-scc      Doc 13      Filed 09/10/20 Entered 09/10/20 13:49:23           Main Document
                                          Pg 59 of 75




                                        CONCLUSION

       41.     This declaration describes the factors that have precipitated the commencement of

the Chapter 11 Cases and demonstrates the critical need for the Debtors to obtain the relief

sought in the First Day Motions.



I declare under penalty of perjury that, to the best of my knowledge and after reasonable inquiry,

the foregoing is true and correct.



 Executed this 10th day of September, 2020
                                                  /s/ Norman R. Veit Jr.
                                                               Norman R. Veit Jr.




                                                59
20-12097-scc      Doc 13    Filed 09/10/20 Entered 09/10/20 13:49:23           Main Document
                                        Pg 60 of 75



                                          Schedule 1

                                          Committee

        Pursuant to Local Rule 1007-2(a)(3), to the best of the Debtors’ knowledge and belief, no
official committee has been organized prior to the Commencement Date.
       20-12097-scc            Doc 13      Filed 09/10/20 Entered 09/10/20 13:49:23                           Main Document
                                                       Pg 61 of 75



                                                               Schedule 2

                     Consolidated List of 30 Largest Unsecured Claims (Excluding Insiders)

             Pursuant to Local Rule 1007-2(a)(4), the following is a list of creditors holding, as of the
      Commencement Date, the thirty (30) largest, unsecured claims against the Debtors, on a
      consolidated basis, excluding claims of insiders as defined in 11 U.S.C. § 101.

                                                                                                                               Contingent,
                                                                                                                               Liquidated,
                                         Complete mailing address, telephone number,       Nature of the
No.                Creditor                                                                                  Amount of Claim   Disputed or
                                         and name of employee, agent, or department           claim
                                                                                                                                Partially
                                                                                                                                Secured
 1    THE CIT GROUP                    PO BOX 37998, CHARLOTTE, NC, 28237                     Trade           $5,935,975.31
 2    PHILLIPS VAN HEUSEN CORP.        P.O. BOX 532513, ATLANTA, GA, 30353-2513               Trade           $4,769,123.45
 3    G-III LEATHER FASHIONS           PO BOX 29242, NEW YORK, NY, 10087                      Trade           $4,154,816.86
 4    WELLS FARGO                      PO BOX 842665, BOSTON, MA, 02284-2665                  Trade           $3,330,659.56
 5    ROSENTHAL & ROSENTHAL            PO BOX 88926, CHICAGO, IL, 60695-1926                  Trade           $3,283,069.09
      CENTURY REGO REALTY LLC          22 Cortlandt Street, New York, NY, 10007                Rent           $2,129,850.50
 6

 7    PEERLESS CLOTHING INT            PO BOX 840919, Dallas, TX, 75284-0919                  Trade           $1,429,291.90
 8    ADIDAS AMERICA INC.              DEPT CH 19361, PALATINE, IL, 60055-9361                Trade           $1,184,130.73
      VORNADO BERGEN MALL LLC          PO Box 416391, Boston, MA, 02241-6391                   Rent           $1,176,901.35
 9

 10   DELTA GALIL USA                  PO BOX 870014, KANSAS CITY, MO, 64187-0014             Trade           $1,091,979.05
 11   MICHAEL KORS USA                 PO BOX 732670, DALLAS, TX, 75373-2670                  Trade           $1,038,396.66
      Albee Development LLC            411 Theodore Avenue, Suite 300, Rye, NY, 10580          Rent            $964,413.32
 12
      ZARA USA INC                     500 5TH AVE SUITE #400, NEW YORK, NY,                  Trade            $908,513.84
 13
                                       10110
      FITCH INC.                       PO BOX 7247-6130, PHILADELPHIA, PA, 19170-        Operating Expense     $853,960.38
 14
                                       6130
      Sunrise Mills (MLP) Limited      PO Box 277861, Atlanta, GA, 30384-7861                  Rent            $851,177.25
 15
      Partnership
 16   MILBERG FACTORS                  99 PARK AVENUE, NEW YORK, NY, 10016                    Trade            $790,176.46
 17   STERLING NATIONAL                PO BOX 75359, CHICAGO, IL, 60675-5359                  Trade            $789,585.22
      HANESBRANDS, INC.         21692 NETWORK PLACE, CHICAGO, IL, 60673-                      Trade            $783,855.83
 18
                                1216
      VALLEY STREAM GREEN ACRES 1175 Pittford-victor Road, Suite 220, Pittsford, NY,           Rent            $716,666.64
 19
      LLC                       14534
      HADDAD BRANDS             131 DOCKS CORNER ROAD, DAYTON, NJ, 8810                       Trade            $649,755.05
 20
21    THEORY LLC                       PO BOX 338, Hewlett, NY, 11557                         Trade            $570,447.40
22    GREAT AMERICAN BEAUTY, INC. 124 N SWINTON AVENUE, DELRAY BEACH,                         Trade            $542,866.05
                                  FL, 33444
23    HILLDUN CORP.               225 W. 35TH STREET, NEW YORK, NY, 10001                     Trade            $520,747.90
24    IMPACT TECH, INC.                223 E. DE LA GUERRA STREET, SANTA                 Operating Expense     $512,598.67
                                       BARBARA, CA, 93101
25    PUMA NORTH AMERICA               PO BOX 74007020, CHICAGO, IL, 60674                    Trade            $455,572.62
26    801-GALLERY C-3 MT, L.P.         200 South Broad Street, Philadelphia, PA, 19102         Rent            $454,029.03
27    LEVI'S, LEVI STRAUSS & CO.       ATLANTA, GA, 30384-8831                                Trade            $437,389.59
28    GI KBS CORPORATION               1575 HENTHORNE DRIVE, MAUMEE, OH, 43537 Operating Expense               $432,237.72
29    NIKE INC.                        7932 COLLECTIONS CENTER DR, CHICAGO, IL,               Trade            $431,046.35
                                       60693
30    COLE HAAN                        P.O. BOX 6007, BOSTON, MA, 02212-6007                  Trade            $423,162.10
20-12097-scc             Doc 13          Filed 09/10/20 Entered 09/10/20 13:49:23                                Main Document
                                                     Pg 62 of 75



                                                             Schedule 3

                       Consolidated List of Holders of Five Largest Secured Claims


        Pursuant to Local Rule 1007-2(a)(5), to the best of the Debtors’ knowledge, belief, and
understanding, the following chart lists the creditors holding, as of the Commencement Date, the
five (5) largest secured, non-contingent claims against the Debtors, on a consolidated basis,
excluding claims of insiders as defined in 11 U.S.C. § 101(31).


                                                                                                                           Contingent,
                                       Complete mailing address, telephone                                                 Liquidated,
                                                                                  Nature of the         Amount of
 No.             Creditor                number, and name of employee,                                                     Disputed or
                                                                                     claim               Claim
                                             agent, or department                                                           Partially
                                                                                                                            Secured
                                      JPMorgan Chase Bank, N.A.
                                      277 Park Avenue, 22nd Floor
                                      New York, NY 10172
  1          JPMorgan Chase                                                       Credit Facility     $26,995,458.241
                                      Attention: Credit Risk Manager –
                                      Century 21 Department Stores
                                      Facsimile No: 646.534.2274

                                      c/o JPMorgan Chase Bank, N.A., as
                                      administrative agent
                                      277 Park Avenue, 22nd Floor
  2          Bank of America          New York, NY 10172                          Credit Facility     $17,996,972.161
                                      Attention: Credit Risk Manager –
                                      Century 21 Department Stores
                                      Facsimile No: 646.534.2274
                                      c/o JPMorgan Chase Bank, N.A., as
                                      administrative agent
                                      277 Park Avenue, 22nd Floor
  3           Bank Hapoalim           New York, NY 10172                          Credit Facility     $11,248,107.601
                                      Attention: Credit Risk Manager –
                                      Century 21 Department Stores
                                      Facsimile No: 646.534.2274
                                      P.O. Box 41602, Philadelphia, PA                                 Not to exceed
  4      De Lage Landen Financial                                                Equipment Lease
                                      19101-1602                                                        $50,000.00
         Sumitomo Mitsui Finance
                                      P.O. Box 530023, Atlanta, GA 30353-                              Not to exceed
  5       and Leasing Company,                                                   Equipment Lease
                                      0023                                                              $50,000.00
                 Limited

1 - Claim amount by institution for JPMorgan Chase, Bank of America, and Bank Hapoalim excludes $38,971.35 of accrued lender fees.




                                                                    3
20-12097-scc   Doc 13   Filed 09/10/20 Entered 09/10/20 13:49:23    Main Document
                                    Pg 63 of 75



                                    Schedule 4

                 Condensed Consolidated Balance Sheet (Unaudited)
20-12097-scc   Doc 13   Filed 09/10/20 Entered 09/10/20 13:49:23   Main Document
                                    Pg 64 of 75




                                        5
20-12097-scc   Doc 13   Filed 09/10/20 Entered 09/10/20 13:49:23   Main Document
                                    Pg 65 of 75




                                        6
 20-12097-scc         Doc 13     Filed 09/10/20 Entered 09/10/20 13:49:23                 Main Document
                                             Pg 66 of 75



                                                  Schedule 5

                                                   Securities

        Local Rule 1007-2(a)(7) requires the disclosure of shares of stock, debentures, and other
securities (“Securities”) of the Debtors that are publicly held.
        There are no publicly held Securities.

       Local Rule 1007-2(a)(7) also requires the disclosure of shares of Securities held by the
Debtors’ directors and officers as of the Petition Date.

       Debtor                Name of Director/Officer                  Approximate Number of Shares
L.I. 2000, Inc.        Raymond Gindi – Co-Chief              25% Class A Voting Common Stock and .25% total
                       Executive Officer                     ownership of L.I. 2000, Inc.
L.I. 2000, Inc.        Raymond Gindi 2012 Generational       25% Class B Non-Voting Common Stock and 24.75%
                       Trust                                 total ownership of L.I. 2000, Inc.

L.I. 2000, Inc.        Isaac A. Gindi – Co-Chief Executive   25% Class A Voting Common Stock and .25% total
                       officer                               ownership of L.I. 2000, Inc.
L.I. 2000, Inc.        I.G. Gindi 2009 Generational Trust    25% Class B Non-Voting Common Stock and 24.75 %
                                                             total ownership of L.I. 2000, Inc.
L.I. 2000, Inc.        Isaac S. Gindi – Executive Vice       16.67% Class A Voting Common Stock and .16667%
                       President, Assistant Treasurer and    total ownership of L.I. 2000, Inc.
                       Secretary
L.I. 2000, Inc.        Isaac S. Gindi 2010 Gift Trust        16.67% Class B Non-Voting Common Stock and
                                                             16.5% total ownership of L.I. 2000, Inc.
L.I. 2000, Inc.        Edward Gindi – Executive Vice         16.67% Class A Voting Common Stock and .16667%
                       President, Treasurer and Assistant    total ownership of L.I. 2000, Inc.
                       Secretary
L.I. 2000, Inc.        Eddie Gindi Generational Trust        16.67% Class B Non-Voting Common Stock and
                                                             16.5% total ownership of L.I. 2000, Inc.
C21 Department         Raymond Gindi 2012 Generational       25% Class B Units and 24.75% of total ownership of
Stores Holdings LLC    Trust                                 C21 Department Stores Holdings LLC
C21 Department         I.G. Gindi 2009 Generational Trust    25% Class B Units and 24.75% of total ownership of
Stores Holdings LLC                                          C21 Department Stores Holdings LLC

C21 Department         Isaac S. Gindi 2010 Gift Trust        16.67% Class B Units and 16.5% of total ownership of
Stores Holdings LLC                                          C21 Department Stores Holdings LLC
C21 Department         Eddie Gindi Generational Trust        16.67% Class B Units and 16.5% of total ownership of
Stores Holdings LLC                                          C21 Department Stores Holdings LLC
20-12097-scc      Doc 13     Filed 09/10/20 Entered 09/10/20 13:49:23            Main Document
                                         Pg 67 of 75



                                           Schedule 6

                      Debtors’ Property Not in the Debtors’ Possession

       Local Rule 1007-2(a)(8) requires the Debtors to list property that is in the possession or
custody of any custodian, public officer, mortgage, pledgee, assignee of rents, secured creditor,
or agent for any such entity.

        In the ordinary course of business, on any given day, property of the Debtors (including
security deposits or other collateral with counterparties to certain commercial relationships) is
likely to be in the possession of various third parties, including vendors, shippers, common
carriers, materialmen, distributors, warehousemen, fulfillment houses, service providers,
custodians, public officers, or agents, where the Debtors’ ownership interest is not affected.
Because of the constant movement of this property, providing a comprehensive list of the
persons or entities in possession of the property, their addresses and telephone numbers, and the
location of any court proceeding affecting the property would be impractical.
20-12097-scc           Doc 13      Filed 09/10/20 Entered 09/10/20 13:49:23                     Main Document
                                               Pg 68 of 75



                                                    Schedule 7

        Pursuant to Local Rule 1007-2-(a)(9), the following lists the property or premises owned,
leased, or held under other arrangement from which the Debtors operate their businesses.

                                                Leased Property 1

    Store #                   Location                                              Address
       7      SAWGRASS                                      Sawgrass Mills, Sunrise FL
      10      DOWNTOWN MANHATTAN                            10-12 Cortlandt Street, New York NY
      10      DOWNTOWN MANHATTAN                            173 Broadway (sub-basement), New York NY
      10      DOWNTOWN MANHATTAN                            175-177 Broadway, New York NY
      10      DOWNTOWN MANHATTAN                            179 Broadway (2-6 floors), New York NY
      10      DOWNTOWN MANHATTAN                            22 Cortlandt Street (1st floor), New York NY
      10      DOWNTOWN MANHATTAN                            22 Cortlandt Street (25 Church Street), New York NY
      10      DOWNTOWN MANHATTAN                            22 Cortlandt Street (3rd Fl), New York NY
                                                            22 Cortlandt Street (4th, 5th and 6th floors), New York
      10      DOWNTOWN MANHATTAN                            NY
      10      DOWNTOWN MANHATTAN                            22 Cortlandt Street (9th floor), New York NY
      10      DOWNTOWN MANHATTAN                            22 Cortlandt Street (Main), New York NY
      18      LINCOLN SQUARE                                1972 Broadway, New York NY
                                                            416-424, 426 87th Street & 415 88th Street, Brooklyn,
      20      BROOKLYN BAY RIDGE                            NY
      20      BROOKLYN BAY RIDGE                            423 88th Street, Brooklyn, NY
                                                            434 86th Street, 412 87th Street, and 415 87th Street,
      20      BROOKLYN BAY RIDGE                            Brooklyn, NY
      20      BROOKLYN BAY RIDGE                            436-438 87th Street, Brooklyn, NY
      20      BROOKLYN BAY RIDGE                            444-446 86th Street, Brooklyn, NY
      20      BROOKLYN BAY RIDGE                            448 86th Street, Brooklyn, NY
                                                            454, 458, 468, 474 86th Street & 439-449 87th Street,
      20      BROOKLYN BAY RIDGE                            Brooklyn, NY
      20      BROOKLYN BAY RIDGE                            456 86th Street, Brooklyn, NY
      20      BROOKLYN BAY RIDGE                            460 86th Street, Brooklyn, NY
      20      BROOKLYN BAY RIDGE                            472 86th Street, Brooklyn, NY
      22      STATEN ISLAND                                 STATEN ISLAND MALL, STATEN ISLAND NY
      26      CITY POINT                                    City Point Shopping Center, Brooklyn, NY
      30      WESTBURY                                      1085 Old Country Road, Westbury, NY
      32      ROOSEVELT FIELD                               Roosevelt Field Mall, Garden City NY
      36      GREEN ACRES                                   Green Acres Mall, Valley Stream, NY


1
     The classification of the contractual agreements listed herein as real property leases or property held by other
     arrangements is not binding upon the Debtors.
20-12097-scc   Doc 13   Filed 09/10/20 Entered 09/10/20 13:49:23      Main Document
                                    Pg 69 of 75



  40    MORRISTOWN                       One North Park Place, Morristown, NJ
                                         Level 3 Court D, 1 American Dream Way, East
  42    AMERICAN DREAM                   Rutherford, NJ 07073
  48    JERSEY GARDENS                   651 Kapkowski Road, Elizabeth, NJ 07201
  50    PARAMUS                          200 Bergen Town Center, Paramus, NJ 07652
  52    CROSS COUNTY                     750 Central Park Ave, Yonkers, NY 10704
  60    REGO PARK                        61-35 Junction Blvd, Rego Park, NY 11374
  76    PHILADELPHIA                     821 Market St, Philadelphia, PA 19107
  88    ADC                              1 Emerson Lane, Secaucus, NJ
  95    SDC                              70 Enterprise Avenue, Secaucus, NJ
  95    EDC                              690 and 700 Secaucus Road, Secaucus, NJ
  95    HDC                              21 Century Way, Secaucus, NJ
  99    CORPORATE                        15 Maiden Lane, Suite 400 & 407 - New York, NY
  99    DOWNTOWN MANHATTAN               22 Cortlandt Street (2nd floor), New York NY




                                       10
20-12097-scc      Doc 13     Filed 09/10/20 Entered 09/10/20 13:49:23              Main Document
                                         Pg 70 of 75



                                            Schedule 8

                       Location of Debtors’ Assets, Books, and Records

       Pursuant to Local Rule 1007-2(a)(10), the following lists the locations of the Debtors’
substantial assets, the location of their books and records, and the nature, location, and value of
any assets held by the Debtors outside the territorial limits of the United States.

                           Location of Debtors’ Substantial Assets
       The Debtors’ substantial assets are located in the locations specified in Schedule 7, which
include the states of New York, New Jersey, Pennsylvania, and Florida.

                                    Books and Records
       The Debtors’ books and records are located at 22 Cortland Street New York, NY.

                           Debtors’ Assets Outside the United States

       The Debtors do not have assets located outside the territorial limits of the United States.




                                                 11
20-12097-scc      Doc 13    Filed 09/10/20 Entered 09/10/20 13:49:23            Main Document
                                        Pg 71 of 75



                                           Schedule 9

                                           Litigation

        Pursuant to Local Rule 1007-2(a)(11), to the best of the Debtors’ knowledge, belief, and
understanding, there are no actions or proceedings, pending or threatened, against the Debtors or
their properties where a judgment against the Debtors or a seizure of their property may be
imminent.
   20-12097-scc      Doc 13        Filed 09/10/20 Entered 09/10/20 13:49:23                    Main Document
                                               Pg 72 of 75



                                                 Schedule 10

                                            Senior Management

          Pursuant to Local Rule 1007-2(a)(12), the following provides the names of the
   individuals who comprise the Debtors’ existing senior management, a description of their tenure
   with the Debtors, and a brief summary of their relevant responsibilities and experience.

NAME             TITLE             DIRECT REPORTS                   FUNCTIONS
Raymond Gindi    Co-CEO            Stores, E-Comm, Logistics,       Oversee the creation and implementation of the
                                   Marketing, Human Resources,      Company’s strategy and business plan. Lead
                                   Finance, IT, Asset Protection,   initiatives to drive top line sales, expense control
                                   Real Estate and Site Selection   and profitability.
                                                                    Oversee key business areas: Stores, E-Comm,
                                                                    Logistics, Marketing, Human Resources, Finance,
                                                                    IT, Asset Protection, Real Estate and Site
                                                                    Selection
IG Gindi         Co-CEO            Merchandising, Inventory         Develop and implement strategies to drive
                                   Planning and Allocation,         profitable sales
                                   Business Intelligence            Sales, Margin, Turn
Eddie Gindi      EVP Chief         n/a                              Lead efforts to ensure company culture that
                 Culture Officer                                    recognizes and values employees to drive
                                                                    productivity and high performance
Isaac Gindi      EVP               n/a                              Advise Marketing related to new concepts,
                                                                    collaborations and other sales driving initiatives
Michael          Chief             VP Marketing, VP Digital,        Marketing, Branding, Creative, Digital Strategy,
Kustermann       Marketing         Creative Director                E-Comm P&L,
                 Officer                                            Customer Relationship Management
Larry Mentzer    Chief Revenue     Store General Managers, VP       Store Sales and Profitability, Store Operations &
                 Officer           Merchandise Present,             Maintenance, Customer Service, Visual
                                   Manager of Facilities            Merchandising, New Store Opening
Nancy Straface   Chief Human       HR Directors in the following    HR Strategy, Talent Acquisition & Retention,
                 Resources         areas: Stores, Corporate DC &    Performance Management, Succession Planning,
                 Officer           Training, Recruiting, Internal   Leadership Development, Training, Engagement,
                                   Communication                    Comp & Benefits
Norm Veit        Chief Financial   VP Finance, Director             Financial Strategy, Budgeting, Performance
                 Officer           Accounts Payable, Director       Analysis, Financial Reporting, Treasury,
                                   Procurement,                     Accounting, Tax, Private Label Credit Card,
                                   Senior Manager Private Label     Payroll,
                                   Credit Card
Norm Veit        Chief IT          VPs Enterprise Application,      IT Strategy, Digital Customer and In Store
                 Officer           Development & Business           Experience, Data Management Systems, Data
                                   Intelligence, VP Guest           Security, Tech Support
                                   Services, Director of Tech
                                   Services
Bill Thayer      Chief Logistics   VP Process Improvement, VP       Logistics Systems, Process and Infrastructure, DC
                 Officer           DC Operations, GM                E-Commerce Operations, Transportation
                                   Transportation
Jimmy Betesh     Vice President    Director Corp AP/Fraud,          Shrink, Asset Protection, Fraud Management,
                 Asset             Director AP Stores and DC
                 Protection
Mike Adams       Director          Manager of Store Design,         Store Design Process, Project Budgeting,
                 Construction      Project Manager                  Construction Management and Execution
                 Planning
   20-12097-scc    Doc 13       Filed 09/10/20 Entered 09/10/20 13:49:23              Main Document
                                            Pg 73 of 75


Molly Taylor    Chief           VPs/Divisional Merchandise   Merchandising Strategy, Assortment and Vendor
                Merchandising   Managers                     Strategy, Sales, Margin, Turn
                Officer
Melissa Baker   SVP,            VPs/Divisional Planning      Merchandise & Inventory Initiatives, Sales &
                Merchandise     Managers,                    GMROI optimization, Business Intelligence
                Planning &      VP Business Intelligence
                Allocation




                                                    14
20-12097-scc       Doc 13      Filed 09/10/20 Entered 09/10/20 13:49:23       Main Document
                                           Pg 74 of 75



                                                 Schedule 11


                                                   Payroll

        Pursuant to Local Rule 1007-2(b)(1)-(2)(A) and (C), the following provides the estimated
amount of weekly payroll to the Debtors’ employees (not including officers, directors, and
stockholders) and the estimated amount to be paid to officers, stockholders, directors, and
financial and business consultants retained by the Debtors for the 30-day period following the
filing of the chapter 11 petitions.


               Payment to Employees                    $5,830,000
       (Not Including Officers, Directors, and
                   Stockholders)
  Payment to Officers, Stockholders, and Directors     $188,000
  Payments to Financial and Business Consultants       $1,808,000



Note: Payments to Financial and Business Consultants includes estimated Debtor, Creditor
Committee, counsel, and other miscellaneous professional fees
20-12097-scc      Doc 13     Filed 09/10/20 Entered 09/10/20 13:49:23            Main Document
                                         Pg 75 of 75



                                               Schedule 12


                           Cash Receipts and Disbursements,
                Net Cash Gain or Loss, Unpaid Obligations and Receivables

        Pursuant to Local Rule 1007-2(b)(3), the following provides, for the 30-day period
following the filing of the chapter 11 petition, the estimated cash receipts and disbursements,
new cash gain or loss, and obligations and receivables expected to accrue that remain unpaid,
other than professional fees.

                         Cash Receipts             $51,781,000
                      Cash Disbursements           $46,515,000
                         Net Cash Gain             $5,266,000
                       Unpaid Obligations          $7,575,000
                     Uncollected Receivables       $6,645,000


Note: Cash disbursements include $24.1 million of Letter of Credit Cash Collateralization and
ABL pay down
